          Case 2:16-bk-22878-BR              Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10                     Desc
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                                             UNITED STATES BANKRUPTCY COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                      CASE NO.: 2:16-bk-22878-BR
                                                                      ADVERSARY NO.:
                       Kimberly Barbour                               NOTICE OF APPEAL FILED: 05/03/2022
                                                                      NOTICE OF CROSS APPEAL FILED :
                                                                      BANKRUPTCY CASE FILED : 09/28/2016
                                                                      APPEAL DOCKET ENTRY NO.: 269
                                                       Debtor(s)




                                                       Plaintiff(s)
                                 vs.                                       NOTICE OF REFERRAL OF APPEAL




                                                    Defendant(s)

To all parties in interest, and the:
            Bankruptcy Appellate Panel of the Ninth Circuit
            United States District Court, Central District of California

You are hereby notified that the following document(s) have been filed at the Bankruptcy Court.
            Motion for Leave to Appeal
            Answer in opposition to Motion for Leave to Appeal
            Notice of Appeal and Statement of Election
            Notice of Cross-Appeal
            Appellant’s Statement of Election to Transfer Appeal to the District Court
            Other (specify)
                      Appellant's Designation of Record and Statement of Issues to be presented on Appeal

By virtue of orders of the Judicial Council of the Ninth Circuit and the District Court for this District, the above appeal and
related documents have been referred to the Bankruptcy Appellate Panel or U.S. District Court, as indicated above.

I certify that a true copy of the Notice of Appeal and Statement of Election, Notice of Referral of Appeal, Transcript Order
Form, and Notice of Transcript were served on each of the parties listed in the Appeal, together with a copy of the
Amended Order Continuing the Bankruptcy Appellate Panel of the Ninth Circuit, as applicable.


                                                     Kathleen J. Campbell
                                                     Clerk of Court

      05/04/2022                                     /s/ Sonny Milano
Date:________________                         By:    _____________________________________
                                                     Deputy Clerk




-XO\ 2015                                                                                       APPEAL.NOTICE.REFERRAL
        Case 2:16-bk-22878-BR              Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10             Desc
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                                         NOTICE OF APPEAL SERVICE LIST

1. SERVED BY THE BANKRUPTCY COURT BY NOTICE OF ELECTRONIC FILING (NEF):

            Bankruptcy Appellate Panel of the Ninth Circuit at bapca09filings@ca9.uscourts.gov
            United States District Court at bkappeal_cacd@cacd.uscourts.gov

    Office of the United States Trustee
            Los Angeles Division at ustpregion16.la.ecf@usdoj.gov
            Riverside Division at ustpregion16.rs.ecf@usdoj.gov
            Santa Ana Division at ustpregion16.sa.ecf@usdoj.gov
            San Fernando Valley Division at ustpregion16.wh.ecf@usdoj.gov
            Northern Division at ustpregion16.nd.ecf@usdoj.gov

    Other parties served by NEF:
     Joseph C Delmotte ecfcacb@aldridgepite.com, JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com
     Lee T Dicker ldicker@ldslaw.com
     Merdaud Jafarnia bknotice@mccarthyholthus.com, mjafarnia@ecf.inforuptcy.com
     Brad D Krasnoff (TR) BDKTrustee@DanningGill.com, bkrasnoff@ecf.axosfs.com;DanningGill@gmail.com
     Peter M Lively PeterMLively2000@yahoo.com
     Joshua K Partington jpartington@swlaw.com, jadair@swlaw.com
     Valerie Smith claims@recoverycorp.com




2. SERVED BY THE BANKRUPTCY COURT BY UNITED STATES MAIL:
     Ivan Rene Moore
     1236 Redondo Blvd
     Los Angeles, CA 90019

     Ronald Hills
     1236 Redondo Blvd
     Los Angeles, CA 90019




-XO\ 2015                                                                                   APPEAL.NOTICE.REFERRAL
          Case 2:16-bk-22878-BR                  Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10                                        Desc
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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address




     Individual appearing without attorney
     Attorney for:

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - **SELECT DIVISION**                                       DIVISION

 In re:

                                                                             CASE NO.:
                                                                             CHAPTER: **Select Chapter**
                                                                             ADVERSARY NO.:
                                                                             (if applicable)
                                                                             DATE NOTICE OF APPEAL FILED:
                                                                             DATE NOTICE OF CROSS APPEAL FILED:
                                                             Debtor(s).      APPEAL DOCKET ENTRY NO.:




                                                            Plaintiff(s),
                                   vs.                                                    NOTICE OF TRANSCRIPT(S)
                                                                                         DESIGNATED FOR AN APPEAL




                                                        Defendant(s).

Notice is given to the court and other parties in interest that the following action was taken:

      I do not intend to designate any portion of the transcript(s).

      I requested a copy of the transcript(s).
      1. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.

      2. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2016                                                               Page 1                                F 8004-1.1.NOTICE.TRANSCRIPT
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      3. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.

      4. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.

      5. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.


      I intend to designate the following transcript(s) previously docketed:
      1. Hearing date (specify)              of designated transcript.
         Docket entry number of designated transcript (specify)

      2. Hearing date (specify)              of designated transcript.
         Docket entry number of designated transcript (specify)

      3. Hearing date (specify)              of designated transcript.
         Docket entry number of designated transcript (specify)

      4. Hearing date (specify)              of designated transcript.
         Docket entry number of designated transcript (specify)

      5. Hearing date (specify)              of designated transcript.
         Docket entry number of designated transcript (specify)




Date: 05/04/2022
                                                                                  Printed name of law firm


                                                                                  _____________________________________________
                                                                                  Signature

                                                                                  _____________________________________________
                                                                                  Printed name

                                                                                  _____________________________________________
                                                                                  Attorney for (specify)


 Instructions
 This Notice cannot be used to order a transcript. To order a transcript, use the court approved Transcript Order Form on
 the court’s website at www.cacb.uscourts.gov/transcripts.

 This Notice must be served on opposing counsel and filed with the court within 14 days of the filing of the Notice of Appeal.




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2016                                                               Page 2                                F 8004-1.1.NOTICE.TRANSCRIPT
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF TRANSCRIPT(S) DESIGNATED FOR AN
APPEAL will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
              , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                          Printed Name                                                      Signature

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2016                                                               Page 3                                F 8004-1.1.NOTICE.TRANSCRIPT
     Case 2:16-bk-22878-BR            Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10                Desc
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                                   TRANSCRIPT ORDERING INSTRUCTIONS

TRANSCRIPT REQUESTS
A separate form must be completed for each hearing date requested. Select a Transcription Service
Provider from the attached Court-approved list of transcribers and complete the Transcript Order form.

Five (5) types of transcript requests:
x   Ordinary: A transcript to be delivered within thirty (30) calendar days after receipt of deposit.
x   14 Days: A transcript to be delivered within fourteen (14) calendar days after receipt of deposit.
x   7 Days: A transcript to be delivered within seven (7) calendar days after receipt of deposit.
x   3 Days: A transcript to be delivered within three (3) calendar days after receipt of deposit.
x   Daily: A transcript to be delivered within 24 hours after receipt of deposit.

341(a) MEETING OF CREDITORS:
The Meeting of Creditors is recorded by the Trustee. The Court does not keep or provide a copy of the
recording. For 341(a) Recording Request Procedures, visit the U.S. Trustee website www.justice.gov/ust/r16.

FILE THE TRANSCRIPT ORDER FORM
Parties with an ECF account must file the Transcript Order Form in CM/ECF on the related case docket. Use
docket event “Transcript Order Form (Public Request).” As with all ECF filings, the completed PDF Transcript
Order Form must be “flattened” before electronically filing through ECF (click here to view the procedure). Self-
represented litigants and parties without an ECF account may hand-deliver or mail the form to the division
where the hearing was held.

*NOTE: The Court does not accept transcript requests via fax, email or telephone.

T RANSCRIPT P ROCESS ING
The Court does not transcribe court proceedings. The official record of court proceedings is transcribed
by a court-approved transcriber from materials provided to that transcriber by the court. When a
Transcript Order Form is received, the Court will forward the hearing information to the Transcription Service
Provider you designate on the Transcript Order Form. The Transcription Service Provider will contact you
regarding receipt of the transcript. Thereafter, contact the Transcription Service Provider directly if you have
questions regarding your transcript order. Transcripts cannot be picked up at the Court. For more information,
go to www.cacb.uscourts.gov/track-transcript-status.

TRANSCRIPT COSTS/FORM S O F PAYMENT
The Transcription Service Provider will contact you directly regarding transcript costs and forms of payment.
Rates may vary but may not exceed maximum charges set by the Judicial Conference of the United States
(maximum rates are listed at www.cacb.uscourts.gov/transcripts).

COPIES OF TRANSCRIPTS
Once the Transcript Order Form requesting a transcript of a hearing is entered on the related case docket, a
Transcription Service Provider is designated and materials for transcription are sent by the Court to the
designated Transcription Service Provider. If more than one party files a Transcript Order Form for the same
hearing, the first Transcript Order Form on the docket takes precedence. All other parties that wish to obtain a
transcript of the same hearing are to contact the Transcription Service Provider designated on the case docket.

Completed transcripts are filed by the transcriber on the related case docket and restricted for 90 days from
the filed date as set forth in the Guide to Judiciary Policy Vol. 6, §510.25.10. During the 90-day restriction
period, the transcript may be viewed at the Clerk’s Office on a public computer terminal or a copy purchased
from the designated Transcription Service Provider that created the original transcript. For more information
see Transcript Ordering Instructions, section 1.15 of the Court Manual at www.cacb.uscourts.gov/court-
manual.


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COURT LOCATIONS
Self-represented litigants and parties without an ECF account may hand-deliver or mail the form to the division
where the hearing was held.


 *DIVISION                                      ADDRESS

 Los Angeles (LA)                               United States Bankruptcy Court
                                                255 E. Temple Street Suite 940
                                                Los Angeles, CA 90012
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)



 Northern (ND)                                  United States Bankruptcy Court
                                                1415 State Street
                                                Santa Barbara, CA 93101
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)



 Riverside (RS)                                 United States Bankruptcy Court
                                                3420 Twelfth Street
                                                Riverside, CA 92501
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)


 San Fernando Valley (SV)                       United States Bankruptcy Court
                                                21041 Burbank Boulevard
                                                Woodland Hills, CA 91367
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)


 Santa Ana (SA)                                 United States Bankruptcy Court
                                                411 West Fourth Street
                                                Santa Ana, CA 92701
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)


*NOTE: The Court does not accept transcript requests via fax, email or telephone.




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                                        UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

                              APPROVED TRANSCRIPTION SERVICE PROVIDERS




     BEN HYATT CERTIFIED DEPOSITION                            eSCRIBERS, LLC
     REPORTERS                                                 7227 N 16 th Street, Suite 207
     17835 Ventura Blvd., Suite 310                            Phoenix, AZ 85020
     Encino, CA 91316                                          Ph:(213) 943-3843
     Ph: (888) 272-0022, ext. 201 or ext. 206                  Fax: (973) 954-5619
     Fax: (818) 343-7116                                       Email: operations@escribers.net
     Email: mhyatt@benhyatt.com                                www.eScribers.net
     www.BenHyatt.com


     BRIGGS REPORTING CO., INC.                                EXCEPTIONAL REPORTING SERVICES, INC.
     9711 Cactus Street                                        14633 S. Padre Island Drive, Suite 103
     Suite B                                                   Corpus Christi, TX 78418
     Lakeside, CA 92040                                        Ph:(361) 949-2988, ext. 0
     Ph: (310) 410-4151                                        Fax: (361) 949-7799
     Fax: (858) 453-9625                                       Email: transcripts@exceptionalreporting.com
     Email: briggs_reporting@sbcglobal.net                     www.ExceptionalReporting.com


     ECHO REPORTING, INC.                                      J & J COURT TRANSCRIBERS, INC.
     9711 Cactus Street                                        268 Evergreen Avenue
     Suite B                                                   Hamilton, NJ 08619
     Lakeside, CA 92040                                        Ph: (609) 586-2311
     Ph:(858) 453-7590                                         Fax: (609) 587-3599
     Fax: (858) 453-9625                                       Email: JJcourt@JJcourt.com
     Email: echoreporting@yahoo.com                            www.JJcourt.com




(cacb transcript instructions rev. 08/11/2021)           Page 3 of 3
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                                                                                                                         ORDER No.
                                        UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

                                                       TRANSCRIPT ORDER FORM
                                                                                                                        CHAPTER
                                                                                                                        APPEAL?               Yes        No
     (File this form on the related case docket)                                                                        APPEAL No.
                                                                                                                                            (if known)
   Ordering Party’s Name:                                                                        Attorney Bar#
   Law Firm:
   Mailing Address:


   Person to Contact (If Judge-ordered: Transcriber to contact Procurement**):
   Telephone: (               )______________ E-mail:
   Bankruptcy Case #:                                                     Adversary Proceeding #/MP #:
   Date of Hearing (complete a SEPARATE form for EACH hearing date):                                                   Time:
   Debtor:
   Adversary Proceeding Name:                                                              vs.
   Hearing Judge: SELECT                                                                   Courtroom #: SELECT
                SELECT
   TRANSCRIBER: _____________________________ALTERNATE:  SELECT
                                                        _______________________________
   (Select from the Court-approved list of Transcription Service Providers. This provider will contact you regarding payment)

   341(a) MEETING OF CREDITORS: The Meeting of Creditors is recorded by the Trustee. DO NOT USE THIS
   FORM. For 341(a) Recording Request Procedures, visit the U.S. Trustee website www.justice.gov/ust/r16
    Transcript Type:                NOTE: The Court is not responsible for determining if a hearing has been previously
                                    transcribed. Check the case docket to determine if a filed transcript already exists or is
                                    being transcribed before filing this form.
                                    Copy of Existing Transcript: Contact the transcriber directly for a copy.
        Ordinary (30 days)               3 Days                    Entire Hearing
        14 Days                          Daily (24 hours)          Ruling/Opinion of Judge only
        7 Days                                                     Testimony of Witness
                                                                   Other*                           (name of witness)
    *Special Instructions:
    Transcript due dates are computed from the date the deposit is received by the Transcriber. The cost of a
    transcript varies for each type. See Transcript Ordering Instructions, Transcript Costs/Forms of Payment.

                                                  TO BE COMPLETED BY THE COURT
     Judge Ordered Transcript**: Clerk must docket this form; CM/ECF will automatically notify Procurement.
  Date Request Filed:                           Date Sent to Transcriber:                          By     FDS       Mail      Messenger
  Digital Recording (or Analog Tape Recording)
  (Tape #:         )Time Start (Index #):                   Time End (Index #):                   Time Start:               Time End:

  (Tape #:         )Time Start (Index #):                   Time End (Index #):                   Time Start:               Time End:
  Court Recorder:                                          Division:                      Processed by:

                                                      **TRANSCRIBER INSTRUCTIONS
Judge-ordered transcripts: email price quote & invoice to procurement@cacb.uscourts.gov. Provide quote prior to transcribing.
 Rev. 1RYHPEHU 2018. This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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 AttorneyorParty Nam e.Address,Telephone & FAX               FO R CO URT USE O NLY
  Nos.,State BarNo.& Em ailAddress
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 1236 Redondo Blvd                                                                          -- --'
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 E81 Individualappearing withoutattorney
 Z Attorneyfor:
                                     UNITED STATES BANKRUPTCY COURT
                   CENTRALDISTRICT OFCALIFORNIA -LOS ANGELES DIVISION                             Xv
In re:
Kim berely Martin-Bragg                                      CASE NO .:
                                                                      2:16-BK-22878-BR
                                                             ADVERSARY NO.:2:16-AP-01543-BR
                                                             (ifapplicablej
                                                             CHAPTER:7
                                              Debtors .
 Ivan Rene Moore




                                Plaintifqs)(ifapplicable).                xoTjcE O F APPEAL
                          VS.
KimberlyMartinBragg                                                  AND STATEMENT OF ELECTION



                             Defendantts)(ifapplicablej.
Part1: Identifv the appellantts)
    Namets)ofappellantts):Ivan ReneMoore
    Positionofappellantts)intheadversaryproceedingorbankruptcycasethatisthesubjectofthisappeal:
Forappealsinanadversary proceeding.
(
F Plainti
        ff
S Defendant
C Other(describejL
Forappeals in abankruptcycase and notin an adversaryproceeding.
                                                                                                      0q1C1d/tt.
S   Debtor
S   Creditor
E   Trustee
C   Other(describejï

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Part2: Identifv the subiectofthis appeal
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Part3: Identifv the otherparties to the appeal

ListthenamesofaIIpadiestothejudgment,order,ordecreeappealedfrom andthenames,addresses,andtelephone
numbersoftheirattorneys(attachadditionalpagesifnec/ssary):
    Party:Ronald Hills
   Attorney:
   1236 Redondo Blvd
    LosAngeles,Cali
                  fornia 90019




2. PartY:
   Attorney:




Part4: Optionalelection to have appealheard bv DistrictCourt(applicable onlv in certain districts)
IfaBankruptcyAppellatePanelisavailableinthisjudici
                                                 aldistrict,theBankruptcyAppellatePanelwillhearthisappeal
unless,pursuantto28U.S.C.j158(c)(1),apadyelectstohavetheappealheard bytheUnitedStatesDistrictCourt.I     f
anappellantfiling thi
                    s notice wishes to have the appealheard by the United States Distri
                                                                                      ctCourt,checkbelow. Do not
checkthe box i fthe appellantw ishesthe BankruptcyAppellate Panelto hearthe appeal.

E81 Appellantts)electto havetheappealheardbytheUnitedStatesDistrictCourtratherthanbytheBankruptcy
   Appellate Panel,

Part5: Siqn below

                                                                 Date:05/07 2022
Signatureofattorn orappell antts)(orappellantts)
ifnotrepresentedbyanattorney)
Fee waivernoti
             ce:Ifappellantis a child suppod creditororitsrepresentati
                                                                     ve and appellanthasfiled theform specified in
j304(g)oftheBankruptcyReform Actof1994,nofeeisrequired.




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                                PR O O F O F SERV IC E O F DO C UM ENT
 Iam overthe age of18 and nota partyto this bankruptcycaseoradversary proceeding. My business addressis:
 9463 1/4 S Norm andie 90045

 A true and correctcopyofthe foregoing docum ententitled:NOTICE OF A PPEA L AND STATEM ENT O F ELECTION
 willbeservedorwasserved(a)onthejudgeinchambersintheform andmannerrequiredbyLBR 5005-2(d);and(b)in
 the m annerstated below :
 1. TO BE SERVED BY THE COURT VlA NOTICE OF ELECTRONIC FILING (NEF):Pursuantto controlling General
 OrdersandLBR,theforegoingdocumentwillbeservedbythecoudviaNEF andhyperlinktothedocument.On(dafe)
               1Ichecked the CM/ECF docketforthis bankruptcy case oradversaryproceeding and determ ined thatthe
 following personsare on the El
                              ectronic MailNotice Listtoreceive NEF transmission atthe emailaddresses stated below:




                                                       Z Serviceinformationcontinuedonattachedpage
 2. SERVED BY UNITED STATES M AIL:
 On(datej05/04/2022 ,Iservedthefollowingpersonsand/orenti
                                                        tiesatthe Iastknownaddressesinthisbankruptcy
 case oradversary proceeding by placing atrue and correctcopythereofina sealed envelope inthe United States mail,
 fi
  rstclass,postage prepaid,andaddressedasfollows.Listingthejudgehereconstitutesadeclarationthatmailingtothe
 judgewi llbecomnleted noIaterthan24 hoursafterthedocumenti sfiled.
See service List




                                                       Z Serviceinformationcontinuedonattachedpage
 3. SERVED BY PERSONAL DELIVERY.OVERNIGHT MAIL.FACSIMILE TRANSMISSION OR EMAIL (state method
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 suchservicemethod),byfacsimiletransmi ssionand/oremailasfollows.Listingthejudge hereconstitutesadeclaration
 thatpersonaldeliveryon,orovernightmailto,thejudgewillbecomnletednoIaterthan24hoursafterthedocumentis
 filed.




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                  tyofperjuryundertheIawsoftheUni
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 5/4/2022       Devra All
                        en
 Date            Printed Name                                  Signature



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                                                           gan ChaseBank
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             :t36RedondoBlvd                         700KansasLane
         2 LosAngeles,CA 90019-1546                  M om'ot,LA 71203-4774
         3 Kix.aFinancial                            M mberly Barbour
           C/O ReneM core                            6150 Shenandoah Avtnue
         4 1:136 Redondo Blvd                        LosM geles,CA 90056-2021
           L4sM geles,CA 90019-1546
         5
         6L ADWP                                     Law Officesofn om asinaReed
          c1o NationalRecovery Agency                5777 W .Century Blvd.,Suite 1125
           2491Paxton Street                         LosAngeles.Califom ia90045-5637
         7 Blrrlsburg,PA 17111-1036
         8 Lze T Dicker                              L'
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              lsAngelesPolice CreditUnion            PeterBaerc/oNussb>tlm APC
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              lterM Lively                           PRA RectivablesM anagtm ent,LL,
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            leLaw OëcesofPeterM Lively               PO Box 41021
           11268W p hington BlvdSte203               Norfolk VA 23541-1021
        14 Cl
            dvtrCity,CA 90230-4647
        15 Pr
            ro Value Propertits,Inc.c/o Nussbaum     :ro valueProperties,Inc.
             27489AgouraRdySuite1û2                  5737KananRoad
                                                                 ' , Smt 'g487
        16 AgouraHills,Califcnua 91301-2421          AgouraHills,Califorma 91391-166:11
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           5737 Kanan Road,Sulte487                  1236 Redondo Blvd.
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            zne& Angela c/o Ivan ReneM oûre          ReneM ooreM usicc/o lv= Renelttoore
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            136 Redondo Blvd.                        1236Redondo Blvd.
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        21 Rick W ilson c/o lvanReneM oore           Ronald Hillsc/o Ivan Rene M oore
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           1:136Rtdondo Blvd.                        1236 Redondo Blvd.
        26 LllsM geles,California99019-,1546         LosM geles,California 90019-15415
        27 Sltone Busailah,LLP,Attn:M ichaelW illi   StrategicAcquisitions,lnc.,etalc/I:I
           21:10EastDelM arBoulevard,Suite350        27489AgouraRd.,Suite 102
        28 Pktsadena.Califonua
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          1236Redondo Blvd.                          c/o M ichele Sabo Assayag
        8 Lc'sAngeles,Califom ia90019-1546           M sayag M auss
                                                     2915RedhillAve Ste200
        9                                            CostaM esa CA 92626-5916
        10 W dlllsFargo Bnnk                         U LLS Fu oo BANK,N A.
           P.f.).Box 25341                           c/oAssAyaoMAuss Lf,P
        11 SantaM a,Calffonùa92799-5341              2915RedlullAve ste10
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        13 c/oJoshuaK.Po ington                      1236 Redondo Blvd,
           AFTISAYAG M AUSS,LLP                      LosM geles,Califomia 90019-1546
        14 2915 RedhillAvenue,Suite2û0
           CllstaM esa,CA 92626-7978
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           26 Ivan RtneM oore                                 IvanReneM oore
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                6(* AntolBlvi Suite 1iit*
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                Attn:Joximapartingtop Esq.
                 Attomey FBr
                W ellsFargo,AssetsReliaRteaCraigHausoaaEdward'
                                                             resto


                  R onald H ills
                  1236 Redondo :oulevard
                  LosAngeles,Ck 90019

                  Leonard Dicker kk Schreiber
                  10940 W ilshire blvd
                  Suite 2100
                  LosA m geles C a 90024
Case 2:16-bk-22878-BR    Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10 Desc
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  8                          UNITED STATES BANKRUPTCY CO URT
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                                  ENTRAL DISTRICT O F CALIFO RNIA
 10                                  LOS ANG ELES DIVISIO N
 11
 12
 13   ln re:                                        Case No.: 2:16-bk-22878 BR
 14   KIM BER LY BARBO UR                           Chapter7
 15                                                 O RDER FIND ING IVAN RENE M O ORE IN
 16                                                 CO NTEM PT OF CO URT FO R W ILLFUL
                                                    VIO LATIO N O F THE DISCHA RG E
 17                                   oebtoqs). INJUNCTION UNDER 11U.S.C.1524(a)
                                                    AND IM PO SING SANCTIONS
 18
 19                                                 Hearinc Date:
 20                                                 Date: M arch 8,2022
                                                    Time: 10:00 a.m .
 21
                                                    Date: April19,2022
 22                                                 Tim e: 2:00 p.m .
 23                                                 Place: Coudroom 1668
                                                     RoybalFederalBuilding
 24                                                  255 EastTem ple Street
                                                     Los Anqeles,CA 90012
 25
 26            This m atter is before the Coud on the ''Order to Show Cause w hy Ivan Rene
 27 Moore NotBe Hel
                  d In ContemptForHisW illfulViolation OfThe Discharge Injunction''
 28 entered by this Courton February 7, 2022,




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  1        ForaIIofthe reasons setfodh in the ''M em orandum Finding lvan Rene M oore In
  2 ContemptOfCourtForW illfulViolationOfThe Di  scharge Injunction Under11U S.C.j
                                                                                 .


  :1
   9 524(A)And ImposingSanctions,,filedcontemporaneouslyherewith, this Coud finds lvan
  4
  5 Moore in contemptofCoud forwillfulviolation ofthe discharge injunction under11
  6 U.S.C.j524(a)andhereby imposessanctionsinthe amountof$28,828.52.Mr.Moore
  7 is ORDERED to deliver$28,828.52 by cashier's check ormoney order,payable and
  8 delivered to Leonard, Dicker & Schreiber Client Trust Account, 9430 O lym pic
  9 Boulevard, Suite 400,Beverly Hills'CA 90212 no laterthan 5:00 pam .on M a# 26,2022.
 10
               IT IS SO O RDER ED,
 11
 12
 13
 14
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 22
 23
 24
 25       Date:Apr1126,2022
 26                                             B= yRussell
                                                United StatcsBankruptcyJudge
 27
 28




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                                        M ain Docum ent Page 3 of3

                                       CERTIFICATE O F SERVICE
1,the below-named deputyclerkofthe UnitedStatesBankruptcyCoud,certi         fy thatlplaced a true and correctcopy ofthe
attached docum entin a sealed envelope forcollecti on and m ailing no Iaterthanthe nextbusiness day thatis nota court-
observed holiday,in the United States mail,firstclass,postage prepaid,and addressed asfollows:



IVAN RENE MOORE
1236 S REDONDO BLVD
LOS ANGELES,CA 90019
 STEVEN A.SCHUMAN,ESQ.
 LEONARD,DICKER & SCHREIBER LLP
10940 W ILSHIRE BLVD STE 2100
 LOS ANGELES,CA 90024




U1Serviceinformationcontinuedonattachedpage


Date: 4/26/2022                signature:

                               Deputyclerkfprintednamej: STACEY FORTIER




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 7
 8                         UNITED STATES BANKRUPTCY COURT
 9                           CENTRAL DISTRICT O F CA LIFO RN IA
10                                 LOS ANGELES DIVISIO N
11
12   In re:                                         Case No.2:16-b*-22878 BR
13   KIM BERLY BAR BO UR ,                          Chapter7
14                                                  M EM ORANDUM FINDING IVAN RENE
15                                                  Moo nE jx coNTEM py oF COURT FoR
                                   Debtorls) W ILLFULVIOLATION OF THE DISCHARGE
                                            .
16                                           INJUNCTION UNDER 11U.S.C.j 524(a)
                                                    AND IM POSING SANCTIO NS
17
18                                                  Hearinn Date:
19                                                  Date: March 8,2022
                                                    Tim e: 10:00 a.m .
20
                                                    Date: A pril19,2022
21                                                  Tim e: 2:00 p.m .
                                                    Place: Coudroom 1668
22                                                   RoybalFederalBuilding
23                                                   255 EastTem ple Street
                                                     LosAnqeles,CA 90012
24
25            on February 7, 2022 the Coud entered an Orderto Show Cause why Ivan Rene
26 Moore NotBe Held In ContemptForHis W illfulViolation OfThe Discharge Iljunction.
27 O n February 22, M r.Moore filed an opposi     tion to the OSC and on February 23,the
28 debtorfiled herreply to M r. M oore's opposition.




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 1         The initialhearing on the OSC was held on March 8,2022 at10:00 a.m .atwhich
 2 tim e M r.Steven A.Schum an appeared forthe debtorand M r.M oore appeared in propia
 3 persona. Afterconsidering the pleadings and oralargument,the Courtfound Mr.Moore
 4 in contemptofCoud forviolatingthe discharge injunctionunder11U.S.C.j 524(a).
 5         Atthe conclusion ofthe March 8,2022 hearing,the Coud seta hearing forApril
 6 19, 2022 to determ ine the am ount, if any, of compensatory damages sl
                                                                        'lould be
 7 awardedagainstMr.Moore assanctionsforhisviolation ofthe di
                                                            scharge injunction.
 8         O n M arch 28,2022,M r.Schum an filed his declaration in supportofthe debtor's
 9   requestform onetary sanctions requesting dam ages forattorneys'fees and costs in the
10 amountof$28,828.52.
11         At the April19,2022 hearing,M r.Schum an appeared for the debtor and M r.
12   M oore appeared in propia persona. After consideration of the pleadings and oral
13   arguments, the Coud awarded sanctions against M r. Moore in the arnount of
14 $28,828.52.
15         The follow ing constitutes the Coud's findings offactand conclusions ofI1Elw :
16                                    FINDINGS OF FACT
17         1.     On Septem ber3.2013,the Los Angel
                                                  es County SuperiorCourtentered a
18 money Judgm entin the am ountof$3,150,000 in favorofIvan Rene Moore and against
19   Kim berl
            y Barbour,in Moore v.8ragg,,LASC Case No.BC480013.
20         2.     O n Septem ber28,2016,the debtorfiled her chapter7 bankrupbry in this
21 Court.
22         3.     O n O ctober 1,2016,the bankruptcy clerk sent a notice to the debtor's
23 creditors,including M r.M oore,pursuantto FederalRules of Bankruptcy Procedure R ule
24 4004 and4007,setting January7,2017asthe deadline forfiling complaintsobjectingto
25 the debtor's discharge under11 U.S.C.j 727 and complaints to have a debtexcepted
26 from discharge under11U.S.C.j 523(a)(2),(4)or(6).
27         4.     On December 9,2016, Mr. Moore filed a timely complaint to inter alia,
28 exceptfrom dischargehisstatecourtjudgmentunder11 U.S.C.j 523(a)(2),(4)or(6).



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 1         5.       On January 9,2017,this Coud issued an order granting the debtor's
 2 discharge (DocketNo.50).
 3         6.       On Septem ber7,2017,this Courtentered an ordersanctioning Mr.Moore
 4 $13,000 forfailure to com ply with a priordiscovery orderofthis Coud. He was ordered
 5 to paythe $13,000 to debtor's counselby October23,2017 and was told thatifhe failed
 6 to make the paym entthatthe com plaintwould be dismissed in its entirety.
 7         7.       O n Novem ber 17, 2017, this C oud entered an order dism issing the
 8 complaintwi
             th prejudice due to Mr.Moore'sfailureto make the $13,000 payment.
 9         8.       O n Novem ber 30, 2017, M r. M oore appealed the order dism issing the
10 complaintto the United States DistrictCourt.
11         9.       On Decem ber 20, 2017, District Judge Stephen W ilson dism issed four
12   appeals including the appealofthe sanctions order and the appealofthe (lism issal
13   orderwhich provided:
14                        The C ourt, on Novem ber 22, 2017, upon
                    consideration of the Appellant's response to the C ourt's
15                  order to show cause , granted additional time to file his
16                  opening brief.

17                         The appellant,having failed to m eetthis deadline,and
                    without notification to the Court why he could not com ply
18                  with the ordersetting the scheduled has shown a com plete
19                  disregard for this Coud, its orders and deadlines. The
                    appellant has clearly dem onstrated a complete Iack of
20                  interestin pursing this m atter.
21                         Therefore, the instantcase and aIIconsolidated cases
22                  are dism issed.

23         10. Upon the dismissalofMoore's appeal,the judgmentin Moore ht Bragg,
24   LASC Case No. BC480013, was forever discharged, as were all other prth-petition
25 claim s.
26         11
                .   On Septem ber27,2021,Moore obtained a writofexecution from the Los
27
28 Angeles County SuperiorCourtin connection wi
                                              th the judgmentin Moore !/
                                                                       '.Bragg,
     LASC Case ko.BC480O13. Inso doing,Mooreviolatedthedischarge injunction.


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 1         12.        On Novem ber 16,2021,Moore obtained from the Los Angelet
                                                                             i;County
 2 superior Coud an abstract of the judgment in Moore v 8ragg, LA SC Ciase No.
                                                                     .


 3   BC480013
                  .
                      Insodoing,Mooreagainviolatedthe discharge injunction.
 4
           13. On November24,2021,Moore caused a copy ofthe abstractofjudgment
 5
 6   to be recorded by the Los Angeles County Recorder's Office. ln so doing,Moore again

 7 violated thedischarge injunction.
 8         14 .       This is not the first tim e that an O SC re contem pt has been filed by the
 9
     debtoragainstM r Moore forviolating the debtor'sdischarge injunction. OnAugust29,
                          .


10
   2017,the debtorfiled an OSC againstMr.Moore which was heard before this Courton
11
12 Novem ber 14,2017 atw hich tim e the Coud found M oore in contem pt for violating the

 13 debtor's discharge injunction and setJanuary23,2018 fora hearing to determine the
14 amountofsanctions. On March 2,2018,the Coud entered an order(DocketNo.173)
15 im posing sanctions of$10,800 againstM oore to be paid w ithin ten days ofthe entry of
 16 th                ,
      e orderto debtors counsel. To date,Moore has notpaid the sanction.
 17
           15. The Courtfinds that M oore knew and understood w hat itm eantw hen the
 18
 19 complaintwas dismissed with prejudice,i.e.,thatit could neverbe filed atiain and
20 therefore thatthe debtw as discharged and could notbe enforced.

21         16. The Courtfinds thatMoore knew and understood thatthe judgmentin
22   M oore v. sragg,LASC case No.BC480013,had been discharged,and that h4
                                                                         : willfully
23
     and intentionall
                    y violated the discharge injunction by obtaining a writofexecution,and
24
25 byobtaining and causing to be recorded anabstractofjudgment.
26         17. The Courtfinds that,by violating the discharge injunction agail),Moore
27 caused debtor to suffer damages in the am ount of $28,828.52 and Moon, will be
28 sanctioned in this am ount.




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 1                                CONCLUSIO NS OF LAW
 2         1     This court's January 9, 2017 orderdischarged aIIprepetition debts ofthe
 3 d
      ebtorexceptasto debts underj 523(a)(2),(4)or(6)subjectto atimely filedadversary
 4
     proceeding. Rule 4007(c)providesthata complaintto determinethe dischargelabilityof
 5
 6 a debtunderj 523(c),i.e.,j 523(a)(2),(4)or(6),shallbe filed no Iaterthan 60 days
 7 afterthefirstdate setforthe meeting ofcreditors underj 341(a).
 8         2.    Section5234c)provides:
 9                     (c)(1) Exceptas provided in subsection (a)(3)(B)of
lo               this section,the debtorshallbe discharged from a debtofa
                 kind specified inparagraph (2),(4),or(6)ofsubsection (a)of
11               this section,unless,on requestofthe creditorto whom such
                 debt is owed, and after notice and a hearing, the court
12               determ ines such debt to be excepted from discharge under
ja               paragraph (2),(4),or(6),asthe case may be,ofsubsection
                 (a)ofthissection.
14
           3.    The tim e forfiling a com plaintseeking to exceptany ofthe debtor's debts
15
16 from discharge underj 523(a)(2),(4)or(6)expired on January7,2017
17         4.    Due to the fact that Moore's complaint alleging that his state coud

18 judgment was excepted from discharge pursuant to j 523(a)(2), (4) or (6) was
19
     dismissed with prejudice on Novem ber 17, 2017 and his appealofthat orderwas
20
     dism issed by the DistrictCoud on Decem ber20,2017,he can no Iongerask this Court
21
22 to determine thathis judgmentwas excepted from discharge underj 523(a)(:
                                                                          ;?),(4)or
23 (6).
24         5.    Therefore,pursuantto jj 523(c)(1)and 524(a),Moore's judgnpenthas
25   been discharged. Because hi
                               s complaintwas dismissed with prejudice,the (.
                                                                            'loud will
26
     neverdetermine thathisjudgmentwould be excepted from discharge underâ 523(a)(2),
27
28 (4)Or(6).




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    1           6.    The judgmentin Moore v.Bragg,LASC Case No.BC 480013,has been
    2 discharged, and any attemptto enforce thatjudgmenti
                                                        s a violation ofthe clischarge
    3 i
         njunction.
    4
                7.    The writofexecution issued on Septem ber27,2021,is void.
    5
    6           8.    The abstractofjudgmentissued on November16,2021,and recorded on
    7    Novem ber24,2021,in the County ofLos Angeles,as documentnum ber2021,
                                                                            1750778,
    8    is void.
    9           9      Moore violated the discharge injunction byobtaining the writofexecution,
    10
         byobtaining the abstractofjudgmentand byrecording the abstractofjudgment,
    11
                The C oud w ill enter a separate order concurrently w ith the entry of this
    12
    13   Memorandum finding that M oore is in contem pt of Court and im posing sanctions of

    14 $28,828.52.
    15 # # #
    16
    17
    18
    19
    20
    21
    22
    23                                                                                 j/p
    24
    25         Date:April26,2022
    26                                                 Bm'
                                                         ry Russell
                                                       United StatesBrmknlptcy Judge
    27
    28




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                                       CERTIFICATE O F SERVICE
1,the below-nam ed deputyclerkofthe United States BankruptcyCoud,certi     fythatIplaced a true anclcorrectcopy ofthe
attached documentin a seal ed envelope forcollecti on and mailing no Iaterthan the nextbusiness dahrthatis nota court-
observed holiday,in the United States mail,firstclass,postage prepaid,and addressed asfollows:



I
VAN RENE MOORE
1236 S REDONDO BLVD
LOS ANGELES,CA 90019

STEVEN A.SCHUMAN ,ESQ.
LEONAR D,DICKER & SCHREIBER LLP
10940 W ILSHIRE BLVD STE 2100
 Los ANGELES,CA 90024




N Setviceinformationcontinuedonattachedpage


Date: 4/26/2022                Signature:                                                         ;

                               Deputyclerkw intednamej: STACEY FORTIER




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     reditor ln Pro Se                                                    BY:
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 6                             UN ITED STA TES BA NK RU PTCY C O UR T
 7                             C EN TR A L D ISTR ICT O F C ALIFO RN IA
 8

  9                                  ) Chapter7
 10   Inre:                          )
                                     ) caseNo.:2:16-bk-22878-BR
 11   KIM BERLY M ARTIN BRAGG (AlkA) )
      KIM BERLY BARBOUR,             ) (JudgeBarryRusselll
 12                   Debtor         )
                                     )
 13                                  ) APPELLANTS'DESIGNATION OF
                                     ) RECORD AND STATEM ENT OF
 14                                  ) ISSUESTO BE PRESENTED ON
 15                                  ) APPEAL
                                     )
 16                                  ) Date: TBD
                                     ) Time:TBD
 17                                  ) Place:Room 1668
 18                                  )
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 19                                  )
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Case 2:16-bk-22878-BR        Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10                Desc
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 1    TO A LL PA RTIES AN D TO TH EIR A TTO RN EY S O F R EC O RD H EREIN :

 2           The Creditor Ivan Rene M oore, (ttcreditorandorçû
                                                             Appellant'')>pursuanttoFederalRule
 3    ot-sankruptcy procedure 8006, hereby subm its its statem entot-issuesto be presented on appeal
 4
      and its designation ofitem s to be included in the record on appeal.
 5
             A 11transcriptsare in creditor'spossession exceptforthe hearing on 4/19/22. Therefore,
 6
      thisappellantw illonly requesttranscripts forthe above reference date.A 1ltranscriptsw illbe
 7
 8 subm itted atthe tim e ofthe A ppellant'sO pening Briefisfiled in thism atter.

 9                       STATEM ENT O F ISSUES PRESENTED ON APPEAL
 10   A PPELLA N '
                 I'S PRESEN T TH E FO LL OW IN G ISSU ES O N A PPEA L:
 11
 12         l. D id the Banknlptcy Courtcom m itclearerrorof1aw and orabuse its discretion w hen it
 13              found thatlvan Rene M oore in Contem ptofcourtforw ilfulviolation ofthe discharge
 14              injunctionunderl1U.S.C.j524(a)whennonoticeofthedischargeorderwasever
 15              giventoinform lvanReneMoorethatthe$3,150,000.,StateCourtjudgmentfor
 16              intentionalmaliciousinjurybythedebtoragainstlvanReneM ooreandhisfamilyand
                 otherspersonalproperty w asdischarged.
 17
 18
            2. D id the Bankruptcy Courtcom m itted clear erroroflaw and or abuse itsdiscretion w hen
 19
                 itfailed to give fullfaith and creditunder article IV ofthe United States Constitution to
20
                 theStateCourtjudgementwhich foundthatthedebtorcommittedwillfulandmalicious
21
                 tortto the creditorperson and personalproperty
22

23          3
             .   Did the Bankruptcy Courtcom m itted clearerror of1aw and or abuse itsdiscretion when
24               itdischarged the$3,150,000.,StateCourtjudgmentforintentionalmaliciousinjuryby
25               the debtoragainstlvan Rene M oore and his fam ily and otherspersonalproperty w as

26               discharged. W henthejudgementwasself-effectuatingpursuantto 1lU.S.C.j523(a)

27               (6).
28
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 1        4. D id the Bankruptcy Courtcom m itted clearerrorof1aw and or abuse itsdiscretion when

 2             itdischargedthe$3,l50,000.,StateCourtjudgmentforintentionalmaliciousinjuryby
 3             thedebtorwhen theStateCourtjudgementfor$3,150,000.,wasbasedonadequateand
 4             independentState grounds.
 5        5. D id the Bankruptcy Courtcom m itted clearerroroflaw and or abuse itsdiscretion w hen
 6             by imposing discovery sanctionsin theam ountof$13,000.when thedocum entssought
 7             wasin theexclusivepossession andcontrolofthedebtorKimberlyBarbour(aka)
               K im berly M artin-Bragg.
 8
          6. D id the Bankruptcy Courtcom m itclearerrorof1aw and or abuse itsdiscretion when it
 9
               found thatlvan Rene M oore in Contem ptofcourtforw ilfulviolation ofthe discharge
 10
               injunctionunderl1U.S.C.j524 (a)when thedebtorobtaindischargeofthe
 11
               $3,150,111.,by com mittingbankruptcy fraudwhiletheadversary com plaintfor
 12
               bankruptcy fraud is currently pending in adversity case//----.
 13
 14       7.
               Did theBanknlptcy Courtcomm itclearerrorof1aw and orabuseitsdiscretion when it
 IS            found thatIvan Rene M oore in Contem ptofcourtforw ilfulviolation ofthe discharge

 16            injunctionunderl1U S.C.j524(a)whenthedebtorobtain dischargeofthe
                                     .



 17            $3 l50 lll., by com m itting fraud upon the Courtw hile the adversary com plaintfor
 18            fraud upon the courtiscurrently pending in adversity case#----.
 19       8. D id the B ankruptcy C ourtcom m itclear erroroflaw and or abuse its discretion w hen it
20             allow ed the debtorto enforce the sanctions thatw ithoutseeking relieffrom autom ation

21             stayintheM oorebankruptcycase//----in violation of11USC j362.
22
23        9. D id the Bankruptcy Courtcom m itted clearen-orof 1aw and orabuse its discretion w hen
24             itdischarged and vacated thiscreditorsow nership interestin his and fam ily and other
25             personalproperty aw arded to this creditorby a Los Angeles Superior CourtJury and
               Judge and affirm ed by the California CourtofA ppealand valued in the m illions of
26
               dollars?
27
28
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  1        10.D id the Banknlptcy Courtcom m itted clearerrorof 1aw and orabuse its discretion when
 2             itdism issed this creditors ow nership interestin hisand otherpersonalproperty aw arded
 3             to thiscreditorby a Los AngelesSuperiorCourtJul'
                                                              y and Judge and aftirm ed by the
 4             Califolmia CourtofA ppealand valued in the m illions ofdollars?

 5
 6         1l.Did theBankruptcy Courtcomm itted clearen-orof1aw and orabuseitsdiscretion when
               ithad irrefutable evidence thatthe debtorw as com m itting bankruptcy fraud and had
 7
               stolen m illions ofdollarsofthiscreditor'sand otherpersonalproperty in violation ofa
 8
 9             l'ulingfrom aLosAngelesSuperiorCourtJudgeandjury?

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      D ated:M ay 3rd 2022
 11
      R espectfully S     'ted
 12
 13
      lvan R ene A4oore
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      Creditor
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 1          II.D ESIG N A TION O F ITE M S TO BE IN CL UD ED IN TH E R EC O R D CA SE

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 4      Filing   y        #                                   oorketText
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                 t         1        1Chapter7Voluntal'yPetitionforIndividuals FeeAmount
                                    t                                                .               (
 6               )         (2lpgs; k$335FiledbyKimberlyMartin-BraggStatementof                       p
                 l         3docs) iIntention forIndividualsFilingUnderChapter7tForm 108) i
 7               l                 1due10/28/2016.summaryofAssetsandLiabilitiestyonu                 q
 8               t                  )
                                    t106Sum or206Sum )due10/12/2016 ScheduleA /B :
                                                                           .
                                                                                                     i
                 f                  ,PropertytFonzll06A/B or206A/B)due10/12/2016.
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                                          )udleC:ThePropertyYouClaimasExempttFonT1 jj
                                              ue 10/12/2016.ScheduleD:CreditorsW ho Have
 10              (                  )claimsSecuredbyPropertytFonzl106D or2061))due
                                    '                                                                )
                 !                  i
                                    1 10/12/2016. ScheduleE/F:CreditorsW ho HaveUnsecured            1
 11              l
                 i                  (claims(yonn l06E/For206(
                                    !                       E/F)due 10/12/2016 schedule # .

 12              y                  tG:ExecutoryContractsandUnexpiredLeases(Form 106G )
                                                                                      i
                 C                  lor2066)due10/12/2016.ScheduleH:YourCodebtors     )
13               )                  l
                                    )(Form l06Hor20611)due10/12/2016.Schedule1:Your '
                                     lncometFonu 1061)due10/12/2016.ScheduleJ:Your  l
14               )
                 '                  lExpenses(yorm 106J)due10/12/2016.Declaration About 1
                                    l
15               i                  lanIndividua1DebtorsSchedulestForm l06Dec)due
                                    t                                                   é
                 è
                 S                  t 10/12/2016. Statem entofFinancialAffairstFon'
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16               )                  1207)due10/12/2016 Chapter7 Statem entofY ourCurrent j4
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                 :                  1M onthlylncometFon'n 122A-1)Due:10/12/2016 Chapter y .
17               .
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                                    )7MeansTestCalculationtFonzl122A-2)Due:10/12/2016. )
                                    l D eclaration by D ebtors as to W hetherIncom e w as Received
18                                  i t-rom an Em ployerw ithin 60
                                                                DaysofthePetitionDate(LBR
                                                                  -
                                                                                                     ;
19                                  jForm F1002-l)dueby 10/12/2016.lncompleteFilingsdue              :
                 )                  !by 10/12/2016 (Lively,Peter)Correction:Debtor,sname
                                                     .
                                                                                                     :
20                                  èupdatedtoreflectPDF.M odifiedon9/29/2016(Toliver,               )
      09/28/2016 l                  !W anda).(Entered:09/28/2016)
                                    i                                                                (

22                         2          StatementAboutYourSocialSecurityNumber(Ofticial       è
                                      Form 121)Filedby DebtorKimberlyM artin-Bragg.(Lively,
23 09/28/2016                       (
                                      Peter)(Entered:09/28/2016)                            .
24                                  ' certiscate ofCreditcounseling Filed by D ebtor Kim berly
25 09/28/2016              (1pg)        M artin-Bragg.(Lively,Peter)(Entered:09/28/2016)

26                        1:            ElectronicFilingDeclaration(LBR Form Fl002-l)Filedby
                          (lpg)         DebtorKimberlyM artin-Bragg.(Lively,Peter)(Entered:
27 09/28/2016                           09/28/2016)
28
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                         1         M eetingofCreditorswith 341(a)meetingtobeheldon
                         (3pgs)     l1/03/2016 at09:00 A M atRM 2,915 W ilshire Blvd.,10th
                                   Floor,LosAngeles,CA 90017.ObjectionstoDischargedue
                                   by 01/03/2017.Cert.ofFinancialM anagem entdue by
                                   01/03/2017 forDebtorandJointDebtor(ifjointcase).Proof
                                   ofClaim dueby02/01/2017.(Lively,Peter)(Entered:
                                   09/28/20l6)

                                   ReceiptofVoluntaryPetition(Chapter7)42:16-1*-22878)
                                   gmisc,volp7)(335.00)FilingFee.Receiptnumber
                                   43391493.Feeamount335.00.(re:Doc//1)(U.S.Treasury)
                                   (Entered:09/28/2016)
                                   N otice ofD ebtor's PriorFilings fordebtorK im berly M artin-
                                   Bragg Case Num ber 14-15698,Chapter 11filed in
                                   C alifornia CentralBanknlptcy on 03/25/2014 ,D ism issed
                                   forOtherReasonon06/04/2015.(Admin)(Entered:
                                   09/29/2016)
                                   N otice ofD ebtor'sPrior Filings fordebtorK im berly
                                   Barbour Case N um ber 14-15698,Chapter 11 tiled in
                                   California CentralBankruptcy on 03/25/2014 ,D ism issed
                                   forOtherReasonon 06/04/20l5.(Admin)(Entered:
                                   09/30/2016)
                                   BNC CertificateofNotice(RE:relateddocumenttslé
                         (5pgs)    M eeting(AutoAssign Chapter7a))No.ofNotices:34.
                                   NoticeDate10/01/2016.(Admin.)(Entered:l0/01/2016)

                         2         BNC CertificateofNotice(RE:relateddocumenttsll
                         (2pgs)    VoluntaryPetition(Chapter7)filedbyDebtorKimberly
                                   Barbour)No.ofNotices:l.NoticeDate 10/01/2016.
                                   (Adminv)(Entered:10/01/2016)
21

22
                                   BNC CertificateofNotice(RE:relateddocumenttsl-
                                                                                t
                         (2pgs)    VoluntaryPetition(Chapter7)filedbyDebtorKimberly
23                                 Barbour)No.ofNotices:l.NoticeDate10/01/2016.
                                   (Admin.)(Entered:l0/01/20l6)
24
                         2         RequestforspecialnoticeandNoticecfzjppearancet?f
25                                 W ells Fargo Bank,N.A.Filed by lnterested Party W ELLS
                         (7pgs)
26                                 FARGO BANK,N.A..(Partington,Joshua)(Entered:
                                  J 10/05/2016)
27
                         10        SummaryofAssetsand Liabilitiesforlndividual(Official
28
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                         (70pgs)   Form l06Sum or206Sum),ScheduleA/B lndividual:
                                   Property(OfficialForm l06A/B or206A/B),ScheduleC:
                                   ThePropertyYou ClaimedasExempt(OfficialFol'm 106C)
                                   )Schedule D lndividual:Creditors W ho H ave Claim s
                                   SecuredbyProperty(OfficialFonn l06D or20617),
                                   Schedule E/F lndividual:CreditorsW ho Have Unsecured
                                   Claims(OfficialForm l06F or206F),ScheduleG
                                   Individual:Executory Contracts and Unexpired Leases
                                   (OfticialForm l06G or206G),ScheduleH lndividual:
                                   YourCodebtors(OfticialFonn l06H or20611),Schedule1
                                   lndividual:Yourlncome(OfficialFonn 1061),ScheduleJ:
                                   YourExpenses(OfticialFol'm l06J),DeclarationAboutan
                                   lndividualDebtor'sSchedules(OfticialForm l06Dec),
                                   Statem entofFinancialA ffairsfor lndividualFiling for
                                   Bankruptcy(OfficialForm 107 or207),Statementof
                                   lntentionforlndividualsFilingUnderChapter7(Official
                                   Form 108),Chapter7StatementofYourCurrentM onthly
                                   Income(OfticialForm l22A-l)(BNC Option),Exemption
                                   isnotbeingrequested.(OfficialForm 122A-1Supp)Filedby
                                   DebtorKimberlyBarbour(RE:related documenttsl-t
                                   Voluntary Petition (Chapter7)).(Lively,Peter)(Entered:
                                   10/07/2016)
                         11        DeclarationbyDebtorastoW hetherDebtorts)Received
                         (1pg)     lncomeFrom anEmployerW ithin 60DaysofPetition(LBR
                                   FonnF1002-l)FiledbyDebtorKimberlyBarbour(RE:
                                   relateddocumenttsllvoluntaryPetition(Chapter7)).
                                   (Lively,Peter)(Entered:10/07/2016)
                         l2
                         (1pg)

21                       l3        R equestforspecialnotice and notice ofappearance Filed by
                         (7pgs)    lnterestedPartyW ELLSFARGO BANK,N.A..(Toliver,
                                   W anda)(Entered:10/11/2016)
                                   ReceiptofM otion Filing Fee-$176.00by 71.Receipt
                                   Number20212242.(admin)(Entered:l0/12/2016)
                         l4        N otice ofm otion and m otion forrelieffrom autom atic stay
                         (8lpgs)   w ith supporting declarationsA CTION IN N ON -
                                   BA N KRU PTCY FO RU M RE:Bragg v M oore,M oore V
                                   Bragg .FeeAm ount$176,Filed by Creditorlvan Rene
                                   M oore(Fortier,Stacey)(Entered:l0/l2/20l6)
'




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      1                                  :
                                15       7RequestforcourtesyNoticeofElectronicFiling(NEF)Filed '
     2                 )        (1pg)    lbyDelmotte,Joseph.(Delmotte,Joseph)(Entered:             l
       l0/14/20l6 )                      ?10/14/20l6)
     3             l                     '
                   )                     l
     4             i            16       1Noticetocreditors(BNC)remotiongrelatesto l4 (Fortier, q  .


       10/17/20 l6 !                     !                                                      ?
                   )            (lpg)    jStacey)(Entered:l0/17/2016)                           t
                       j        17       j
                                         )Hearing Set(RE:relateddocumenttsll4M otionforRelief      '
     6                 l                 ,                                                         )
                       j                 jfrom Stay-ACTIONINNON-BANKRUPTCYFORUM                    f
     7                 i
                       !
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                                         !filedbyCreditorIvanReneMoore)TheHearingdateisset ll
                                         lfor11/22/2016at10:00AM atCrtnu 1668,255E Temple i
     8 l0/17/2016 @
                  )                      j(
                                          SF
                                           t.,L0sAngeles,CA90012.ThecasejudgeisBanyRussell9
                                                                                          i
                       l                 I ortier,Stacey)(Entered:l0/l7/20l6)                      j
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     10                l        la       tsxccertiscateorxotice(a.
                                         l                       s,relateddocumenttsll6            l
                   j            (3pgs) j                                                           !
                   '                     1Noticetocreditors(BNC))No.ofNotices:40.NoticeDate
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     11 l0/19/20l6 j                         10/19/2016.(Admin.)(Entered:10/19/2016)               )
     12                l        19           R
     13 l1/04/2016 @
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                       l        (1pg)
                                                 equestforcourtesyNoticeofElectronicFiling(NEF)Filed t
                                                                                                     )
                                         jbyDicker,Lee.(Dicker,Lee)(Entered:l1/04/2016)            j
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                       '                 t
     14                j
                       '        20       lOppositionto(relateddocumentts):14Noticeofmotionand )
     15                j        (191pgs; ' m otion forrelieffrom autom atic stay w ith supporting 1
                       (
                       '        10docs) declarationsACTION INNON-BANKRUPTCYFORUM l
     16                #                     RE:BraggvMoore,MooreV Bragg.FeeAmount$176,            )
                       )
                       r                 #filedbyCreditorlvanReneM oore),'Declaration of           1
     17                )                 p
                                         jKimberly BarbourFiled by DebtorKim berly Barbour         )
                                                                                                   J
                   i
                   .                     l(Attachm ents:# lExhibitl#; Exhibit2#J.Exhibit3#1: @
                                                                           .

     18            y
                   :                     lExhibit4#jExhibit5#j.Exhibit6#2.Exhibit7#3.
                                         .
                                         1                .                                  l
     19            l
                   j
                                         ;Exhibit8#: Exhibit9andProofofSelwice)(Dicker,Lee) j
                                                                                            l
        11/08/2016 @
                   t                     '
                                         j(Entered:11/08/20l6)                              l
    20                                   ;
                       '        2l       1Objection (relateddocumentts):14Noticeofmotionand        )
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    21                 .
                       C
                       '
                                (9pgs)   j
                                         @motionforrelieffrom automaticstaywithsupporting          7
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                       :                 $declarationsACTION IN NON-BANKRUPTCY FORUM
    22                 '                 i
                                         tRs:sragg v M oore, M oorev Bragg.FeeAm ount$176,         )
    23                                   ifiledbyCreditorIvanReneM oore)ObjectionstoEvidence
                                         '
                                         .
                                             in Connection with the Opposition Filed by D ebtor    ,
    24 11/08/2016                            KimberlyBarbour(Dicker,Lee)(Entered:l1/08/2016)       è
    25                          22       Replyto(relateddocumentts):14Noticeofmotion and           '
    26                          (66pgs) 5motionforrelieffrom automaticstaywithsupporting           l
                                             declarationsA CTION IN N ON -BAN K RU PTCY FO RU M
    27                                       RE:Bragg v M oore,M ooreV Bragg.FeeAm ount$176,
          11/14/2016                         filedbyCreditorlvanReneM oore)FiledbyCreditorlvan
    28                      .
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      1                t
                                      )
                       ,              , ReneM oore(Pennington-lcmes,Patricia)(Entered:                  t
                                                                                                        :
     2                 )
                       )              ) ll/l5/2016)
                                      d                                                                 (
     3                       23       1M otion toAvoid Lien Property Lien with lvan Rene M oore         i
                  i                  l                                                                  i
     4            k
                  l          (60pgs) ) WithProofofserviceFiledbyDebtorKimberlyBarbour                   j
       ll/18/2016 j                  l
                                     ,
                                       (Lively,Peter)(Entered:ll/l8/20l6)                               !
                                                                                                        t
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                       j     24       1MotiontoAvoidLienPropertyLienwith Strategic
                                      -                                                                 l
     6                 l     (60pgs) I
                                     1Acquisitions, lnc.,PeterBaer,ProValueProperties,lnc.              j
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     7 11/l8/2016      1
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                                                                          201torKimberlyBarbour '
     9                 I
                       ù     25           MotiontoAvoidLienPropertyLienwithlvanReneMoore 1
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                       l     (57pgs) withproofofserviceFîledbyDebtorKimberlyBarbour                     1
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     10 1l/l8/20l6 j                  1(Lively,Peter)(Entered:ll/l8/2016)
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     11                j     26           MotiontoAvoidLienPropertyLienwithStrategic                    )
     12                !
                       j     (57pgs) 'Acquisitions,Inc.,PeterBaer,ProValueProperties,lnc.               !
                                          ïn thproofofserviceFiledbyDebtorKimberlyBarbour               l
     13 ll/l8/2016 1                      (Lively,Peter)(Entered:ll/l8/2016)                            '
                       !
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                       j                                                                                j1
     14                j     27           Noticeoflodgmentoforderi
                                                                 nBankruptcyCaseFiledby l
     15                !     (4pgs)       DebtorKimberlyBarbour(RE:relateddocumenttsll4
                                          N otice ofm otion and m otion forrelieffrom autom atic stay
     16                1              jwithsupportingdeclarationsACTION IN NON-
                       )
                       i               BANKRUPTCY FORUM RE:BraggvM oore,
                                                                              MooreV                    l
     17                1
                       )               Bragg.FeeAmount$176,Filedby CreditorlvanRene                     j
          l1/28/2016                  t
                                      kM oore).(Dicker,Lee)(Entered:l1/28/20l6)                         )
                       l     28       lC                                                                k
     19                ;              1 ertificationAboutaFinancialM anagementCoursefor                 i
                                                                                                        1
                       !     (4pgs)   :Debtorl(OfficialFonn 423)FiledbyDebtorKimberly                   (
    20    12/01/2016 k
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                       1              IBarbour(RE:relateddocumenttsllMeeting(AutoAssign !
                                      lChapter7a)) (Lively,Peter)(Entered:12/01/2016)
                                      i                .                                                l
                       '
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    22                 è
                       ,     29       jOppositionto(relateddocumentts):25MotiontoAvoid                  j
                             (25pgs) ,LienPropertyLienwith lvanReneM oore WithProofof     )
    23                 ;
                       ,             ;ServicefiledbyDebtorKimberlyBarbour)FiledbyCreditor (
          12/02/2016   '
                                     1IvanReneM oore(Fortier,Stacey)(Entered:12/05/2016) k
                                      q                                                           j
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    25                                )                                                           l
                       .              'gAttorneyneedstouploadorderin CIAO)(RE:related
                                                  '-          ''                  --   '    7
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    26                                tdocumenttslz7NoticeofLodgmentfiledbyDebtor           ,
          12/06/2016                  'KimberlyBarbour)(Fortier,Stacey)(Entered:12/06/20l6) r
    28    12/08/2016         31       ; O rderG ranting m otion forrelieffrom atltom atic stay
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                         (2pgs)    ACTION IN NON-BANKRUPTCY FORUM (BNC-PDF)
                                   (RelatedDoc#J-4)Signedon 12/8/2016(Fortier,Stacey)
                                   (Entered:12/08/2016)
                                   A dversary case 2:l6-ap-01543.Com plaintby lvan Rene
                         (53pgs)   M oore againstK im berly Barbour,G eorge Barbour,Keith
                                   Rouster,RobertPitts,R obertPittsEstates,PeterM Lively
                                    The Law O fticesofPeterM .Lively ,Does lthrough l0,
                                   lnclusive.FeeAmount$350.00NatureofSuit:(13
                                   (Recoveryofmoney/property -548fraudulenttransferl),(14
                                   (Recoveryofmoney/propel'ty -otherl)(M ilano,Sonny)
                                   (Entered:12/09/2016)

                                   BNC CertificateofNotice-PDFDocument.(RE:related
                         (3pgs)    documenttslr M otion forrelieffrom automaticstay
                                   ACTION IN NON-BANKRUPTCY FORUM (BNC-PDFI)
                                   No.ofNotices:l.NoticeDate12/10/2016.(Admin.)
                                   (Entered:12/10/20l6)

                         M         N otice ofH earing On D ebtor'
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                                   relateddocumenttslr M otiontoAvoidLienPropertyLien
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                                   DebtorKimberlyBarbour).(Lively,Peter)(Entered:
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                         (5pgs)    ProofofserviceFiledbyDebtorKimberlyBarbour(RE:
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                                   DebtorKimberlyBarbour).(Lively,Peter)(Entered:
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                                   D eclaration ThatN o Party Requested a H earing on M otion
                         (67pgs)   (LBR 9013-1(0)(3))Noticet?fM otionandMotiontoAvoid
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                                   Barbour(RE:relateddocumenttslO M otiontoAvoidLien
                                   Property Lien with Strategic A cquisitions,lnc.,PeterB aer,
                                   ProValueProperties,lnc.WithPrt
                                                                pqf(?fService).(Lively,
                                   Peter)(Entered:l2/14/20l6)
                         37        Declaration ThatN o Party Requested a H earing on M otion
                         (63pgs)   (LBR 90l3-l(0)(3))Notice(lfM otionandMotiontoAvoid
                                   Lien WithPl'ol?ft?fserviceFiledbyDebtorKimberly
                                   Barbour(RE:relateddocumenttslO M otiontoAvoidLien
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    27                       (85pgs;       stay withsupporting declarationsPERSONAL PROPERTY
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      1                l               )
                       #               rM oore,etc.,attached asExhibit5 .FeeAmount$l8l,Filed '
     2                 f               1 by Interested Party W ELLS FA R GO BAN K , N.A.
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     5                 1
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    24            y                     M oore(Fortier,Stacey)Additionalattachmentts)addedon !
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    26               )       50            ORDER OFDISCHARGE (BNC)(Drake,Monica)                          ,
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    24                 i                                      lthrough2#2ExhibitExhibits3-6)).(Attachments:#1
                       '                                      i Proposed O rderG ranting M otion forR elieffrom the
    2s               ;                                        (AutomaticStay UnderllU.S.C.Section362)(Partington,
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     1                 ,
                                       FiledbyDebtorKimberlyBarbour(RE:related                      @
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                       '               documenttslr M otiontoAvoidLienPropertyLienwith
                                       lvanReneM ooreWithProofofserviceFiledbyDebtor                t
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                                      )ORDER OFDlScl-laRc;s .chapter7(CACB
     11                               l
                                      jAutoDischarge)(BNC)).AppellantDesignationdueby
          01/23/2017 )                j2/6/2017.(Milano,Sonny)(Entered:01/23/2017)
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     13                      (5Pgs) j
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    19            )                   rCoul't-(OfficialForm 4l7A)-FeeAmount:$298.00,   .filed       j
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                  )                     AutoDischarge)(BNC)) AppellantDesignation dueby
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                       @                  ReceiptofAppealFiling Fee -$293.00 by 71.Receipt          i
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    27                       (5pgs)       documentts):éz.
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                  t             63            M otion to Dism iss case Filed by Creditor lvan Rene M oore
     2 01/23/2017 jl            (28pgs)       (Fortier,Stacey)(Entered:01/24/2017)
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                          !     62            N otice ofRefen-alofA ppealto the United States District      J
     4                    :
                          l     (63pgs)       Court, CentralDistrictofCalifornia;withNoticeofAppeal l
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     8 01/25/2017               (1pg)     l            stacey)(Entered:01/25/2017)                          j
     9                          65        tHearingset(Rs:relateddocumenttsl63DismissDebtor    l
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    20            j             (5pgs)        PERSONAL PROPERTY (BNC-PDF)(RelàtedDoc#44) (
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                  )             (4 pgs)       M OOREIBNC-PDF)(RelatedDoc#25)Signedon                        y
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                        '       70            Interim orderGrantingM otionToAvoidLien(tseeorder
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    26
                                71            BNC CertificateofNotice-PDF Document.(RE:related
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    28 02/01/2017                             PERSONAL PROPERTY (BNC-PDFI)No.ofNotices:l.
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    21                     h
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    23                          76            N otice ofm otion and m otion forrelieffrom autom atic stay   t
    24                          (4lpgs)       withsupportingdeclarationsACTION IN NON-                      1
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    25                                        480013 .Fee Am ount$18l,Filed by Creditorlvan Rene
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    27                          77            N otice ofA ppealand Statem entofElection to U .S.D istrict
              02/06/2017        (l0pgs)       Court-(OfficialFol'm 4l7A)-FeeAmount:$298.00.
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Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10         Desc
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                                   bylvanReneM oore(RE:relateddocumenttslo M otionfor
                                   relieffrom the autom atic stay PER SON A L PRO PERTY
                                   (BNC-PDFI).AppellantDesignationdueby2/21/2017.
                                   (M ilano,Sonny)(Entered:02/08/2017)
                         7.3.     jAppellantDesignation ofContentsForlnclusion in Record
                         (5pgs) 'OnAppeal;StatementofIssuesonAppeal;filedbylvan
                                 ReneM oore(RE:relateddocumenttslr NoticeofAppeal
                                 andStatementofElection(OfficialForm 4l7A)).Appellee
                                 designation dueby2/21/2017.(Milano,Sonny)(Entered:
                                 02/08/2017)

                         22        A ppellants'Certificate ofInterested Partieson Appealand
                         (5pgs)    N otice ofRelated Cases pursuantto LocalRules;filed by
                                   lvanReneM oore(RE:relateddocumenttslr Noticeof
                                   A ppealand Statem entofElection to U .S.D istrictCourt-
                                   (OfficialForm 4l7A)-FeeAmount:$298.00;filedbylvan
                                   ReneM oore(RE:relateddocumenttslv M otion forrelief
                                   from theautomaticstay PERSONAL PROPERTY (BNC-
                                   PDF)).AppellantDesignation dueby2/21/2017.).(M ilano,
                                   Sonny)(Entered:02/08/2017)
                                   N otice ofAppealand Statem entofElection to U .S.D istrict
                         (9pgs)    Court-(OfficialForm 417A)-FeeAmount:$298.00;filed
                                   by lvanReneMoore(RE:relateddocumenttslX Orderon
                                   M otiontoAvoidLien (BNC-PDFI).AppellantDesignation
                                   dueby2/21/2017.(M ilano,Sonny)(Entered:02/08/2017)
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                         (6pgs)    On A ppeal'
                                             ,Statem entof lssues on Appeal',tiled by Ivan
                                   ReneMoore(RE:relateddocumenttslr NoticeofAppeal
                                   and StatementofElection(OfficialForm 4l7A)).Appellee
                                   designationdueby2/21/2017.(M ilano,Sonny)(Entered:
21                                 02/08/2017)
22                       82        A ppellants'Certificate oflnterested Parties on Appealand
                         (5pgs)    N otice ofR elated Casepursuantto LocalRules;filed by
23
                                   lvanReneMoore(RE:relateddocumenttsl8oNoticeof
24                                 A ppealand Statem entofElection to U .S.DistrictCourt-
                                   (OfticialForm 4l7A)-FeeAmount:$298.00*   ,filedbylvan
25                                 ReneM oore(RE:relateddocumenttsl6gOrderonM otionto
                                   AvoidLien (BNC-PDFI).AppellantDesignationdueby
26                                 2/21/2017.).(M ilano,Sonny)(Entered:02/08/20l7)
27
                                   D eficiency N otice Sentto U SD C RE:2:16-cv-566 BRO -
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      j                .
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     2                 )                  documenttsls8NoticeofAppealandStatementofElection
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     3                 h                  (M ilano,Sonny)(Entered:02/07/2017)
      4                ,                                                                         .
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                               1.         NoticeofReferralofAppealto the United StatesDistrict
      5                      (29pgs) iCourt,CentralDistrictofCalifornia' ,withNoticeofAppeal     j
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                       l             7ServiceList (RE:relateddocumenttslr NoticeofAppeal
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     13                !
                       1     (1pg)    )automaticstay75and76(Fortier, St
                                                                      acey)(Entered:      )
     14 02/08/2017 )
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     15                î     86       @
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                       )                  from Stay-ACTION IN NON-BANKRUPTCY FORUM               $
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     16                i                  sledbycreditorIvanReneMoore)TheHearingdateisset )
     17                               jfor3/22/2017at02:00PM atCrtnn 1668,255E TempleSt., )
                                      lLosAngeles,CA 90012.ThecasejudgeisBarly Russell
     18 02/08/2017 l
                   )                      (Fortier,Stacey)(Entered:02/08/2017)
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    19                 i              .
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    20                 C              ' from Stay -A CTION IN N ON -BAN K RU PTCY FOR UM
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    21                 (                  for3/22/2017 at02:00 PM atCrtrm 1668,255 E Tem ple St., '
                                          LosAngeles,CA 90012.ThecasejudgeisBarryRussell
    22 02/08/2017                         (Fortier,Stacey)(Entered:02/08/2017)
    23                                                                                           (
                             /.j.      BNC CertificateofNotice(RE:relateddocumenttsl8sNotice
    24                       (3pgs)    tocreditors(BNC))No.ofNotices:42.NoticeDate
          02/10/2017                   02/10/2017.(Admin.)(Entered:02/11/2017)

    26                       j..
                               z       NoticeRE:Appealfrom BankruptcyCourt(USDC)RE:
                             (2pgs)    2:17-cv-l051ODW (Originally filedatDistrictCourt
    27                                 02/09/2017).(RE:relateddocumenttsl/ NoticeofAppeal
          02/13/2017                   and StatementofElection(OfficialForm 417A)filedby
    28                                                                       .
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      1                t
     2                 è              C4/20/20l7(M ilano,Sonny).(Entered:02/13/20l7)
     3                               xoticeRE:Appealfrom BanknlptcycourttusoclRs:2:17- '
     4                 i
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                       l           )(RE:relateddocumenttsl8oNoticeofAppealandStatement C
     5                 )           '
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     6 02/13/2017 $                   l
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     7i                j     91    1RequestforcourtesyNoticeofElectronicFiling(NEF)Filed              1
                       2           )                                                                  )
     8 02/26/2017      )     (lpg) jby Smith,Valerie.(Smith,Valerie)(Entered:02/26/2017)              !
     9-                l           lx                                                                 J
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     10                q     (5pgs) !ReneM oore(RE:relateddocumenttsl7'/NoticeofAppeal                j
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                                      1andStatementofElection(OfficialFonn417A)).(Milano, j
     11 02/27/2017 j                      Sonny)(Entered:02/28/2017)                                      h
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                                    lNoticeofTranscriptsDesignatedforanAppeal' ,filedby lvan          !
     13            1         (5pgs) jReneM oore(1kE:relateddocumenttslv NoticeofAppeal                l
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     16                      (5pgs) )1ReneMoore(RE:relateddocumenttsl77NoticeofAppeal                 '
                   )                 )and StatementofElection (OfficialForm 417A)).(M ilano,          k
     17 03/01/2017 1                 lSonny)(Entered:03/01/2017)
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     18            '   .     95      toppositionto(relateddocumentts):63M otiontoDismiss
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     19                      (64pgs) IDebtortiledbyCreditorlvanReneM oore)withProofqf                 )
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                   '                 (ServiceFiledby DebtorKimberly Barbour(Lively,Peter)
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    20 03/08/2017                    )
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                       '     zi       oppositionto(relateddocumentts):75Noticeofmotionand )
    22                       (22pgs) (motionforrelieffrom automaticstaywith supporting    )
                                      )declarations A CTION IN N ON -BAN K RU PTCY FO RUM
    23                 '              '   RE:Bragg vsM ooreBC 459449.Fee Am ount$18l,filed by         ,

                                       CreditorlvanReneM oore)withProofcfserviceFiledby
    24                                :DebtorKimberlyBarbour(Lively,Peter)(Entered:
    25 03/08/2017                      03/08/2017)

    26                       ?.Z                                           ?-(Noticeofmotionand
                                          Oppositionto (relateddocumentts):.
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                             (6pgs)       motionforrelieffrom automaticstaywith supporting
    27                                    declarationsA CTION IN N O N -BA N K RUPTCY FO RUM
          03/08/2017                      RE:M oorevsM artin-Bragg BC 480013.FeeAm ount$181,
    28    . .
Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10           Desc
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                                      filedbyCreditorlvanReneM oore)withProofofservice
                                      FiledbyDebtorKimberly Barbour(Lively,Peter)(Entered:
                                      03/08/2017)
                                      N otice ofProposed A bandonm entofProperty ofthe Estate
                         (5pgs)       (withproofofservice)FiledbyTrusteeBradD Krasnoff
                                      (TR).(Krasnoff(TR),Brad)(Entered:03/10/2017)

                         9..
                           :     Replytoopposition(relateddocumentts):95Oppositionfiled
                         (25pgs) by DebtorKimberlyBarbour)Filedby CreditorIvanRene
                                 Moore(Fortier,Stacey)(Entered:03/16/2017)

                         l00     Replyto(relateddocumentts):#-iOppositionfiledbyDebtor
                         (49pgs) KimberlyBarbour,9.J.OppositiontiledbyDebtorKimberly
                                 Barbour)FiledbyCreditorIvanReneM oore(Fortier,Stacey)
                                 (Entered:03/16/2017)

                         l0l     Replyto(relateddocumentts):.
                                                            @.iOppositionfiledbyDebtor
                         (25pgs) KimberlyBarbour,#J OppositionfiledbyDebtorKimberly
                                 Barbour)FiledbyCreditorlvanReneM oore(Fortier,Stacey)
                                 (Entered:03/16/2017)
                         l02          D eficiency N otice Sentto U SD C RE:2:l7-cv-l051 O DW -
                         (1pg)        Statem entoflssuesand Designation ofR ecord have notbeen
                                      filed.Transcripthasnotbeen ordered.(RE:related
                                      documenttslr NoticeofAppealand StatementofElection
                                      (OfticialForm 417A)filedbyCreditorlvanReneM oore)
                                      (M ilano,Sonny)(Entered:03/22/2017)
                         l03          DeficiencyNotice Sentto UVDC RE:2:l7-cv-1055M W F -
                         (1pg)        Statem entoflssuesand D esignation ofRecord have notbeen
                                      filed.Transcripthasnotbeenordered.(RE:related
                                      documenttslv NoticeofAppealandStatementofElection
21                                    (OfficialFonn4l7A)filedbyCreditorlvanReneM oore)
                                      (M ilano,Sonny)(Entered:03/22/2017)
22

23                       l04          NoticeoflodgmentoforderinBankruptcy CaseRe.   'M otion
                         (6pgs)       forReliefFrom Stay WithPrtpt?fofserviceFiledbyDebtor
24                                '
                                      KimberlyBarbour(RE:related documenttsl/ Noticeof
                                      motion and m otion forrelieffrom autom aticstay with
                                      supporting declarationsA CTION IN N ON -BA N K RUPTCY
                                      FORU M RE :M oore vs M artin-Bragg BC 480013.Fee
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                                      Amount$18l,FiledbyCreditorlvanReneM oore).(Lively,
27                                    Peter)(Entered:03/23/2017)
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    Case 2:16-bk-22878-BR                  Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10                                                                    Desc
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     1
                                               l05    ?NoticeoflodgmentoforderinBankruptcy CaseRe:Motion '
     2                                         (6pgs) )forReliefFrom Stay Withf'rtpt?
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                                                                 )KimberlyBarbour(RE:relateddocumenttslr Noticeof
     3                   .                                       t m otion and m otion forrelief from autom atic stay w ith                                                              y
                                                                 i supporting declarations A CTION IN N ON -BAN K RUPTCY                                                                 è
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                                                 pgs) 4
                                                      jtoDismissBankruptcy ofDebtorKimberlyBarbourWith    k
     8                   1
                         l                                       jProofofserviceFiledbyDebtorKimberlyBarbour(RE:                                                                         k
                         )                                       lrelateddocumenttsl63M otion toDismisscaseFiledby                                                                       r
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    11                   l
                         )                     l07               lOrderDenyingmotionforrelieffrom automaticstay                                                                          )
                         i                     (2Pgs) j
                                                      lACTION IN NON-BANKRUPTCY FORUM (BNC-PDF)                                                                                          i
    12                                                j(RelatedDoc#75)Signed on3/31/2017(Fortier, Stacey)                                                                                i
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          03/31/2017 T                                           t
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    14            l                           108                 OrderDenvinqmotion fOrrelieffrom automaticstav                                                                         )
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                                                                              =' BANKRUPTCY FORUM (BNC-        -PDF)                                                                     j
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    ls            )                                              t(RelatedDoc# 76)Signedon3/31/2017(Fortier,Stacey)                                                                      l
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    17                   j                    l09    1orderDenyingM otiontoDismissCase(BNC PDF).
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    18   03/31/2017 ?
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                        )                     (3pgs) kdocumenttsllo7M otionforrelieffrom automaticstay                                                                                   :
    21                                               )
                                                     @ACTION I'  N NON-BANKRUPTCY FORUM (BNC-PDFI)
                                                     kNo.ofNotices:1.NoticeDate04/02/2017.(Admin.)                                                                                       )
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    24                                        (3pgs) idocumenttsllo8M otionforrelieffrom automaticstay                                                                                   '
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    25                                                N o ofNotices:l.NoticeDate04/02/2017.(Admin.)
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    26 04/02/2017                                     (Entered:04/02/2017)

    27                                        112                    BNC CertificateofNotice-PDFDocument.(RE:related
         04/02/2017                           (3pgs)                 documenttsllog OrderonMotionToDismissDebtor-Joint
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Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10           Desc
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                                  Debtor(BNC-PDFI)No.ofNotiees:l.NoticeDate                    q
 2                                04/02/2017.(Admin.)(Entered:04/02/2017)                      l
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 3                                chapter7 Iw stee's Repol.
                                                          tot-x o D istribution:1, Brad D      )
                                                                                               ;
 4                                Krasnoff(TR),havingbeenappointedtnlsteeoftheestateof y
                                  theabove-nameddebtorts),reportthat1haveneitherreceived 1
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 5                                any propel'ty norpaid any m oney on accountofthisestate; )
                                  thatlhave m ade a diligentinquily into the financialaffairsof 1
 6                                th                                                            I
                                    edebtorts)andthclocationofthepropertybelongingtothe )
 7                                estate;andthatthereisnopropertyavailablefordistribution j
                                  from theestate overand above thatexemptedby law.        l
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 8                                PursuanttoFedR BankP5009,1herebycertifythatthe               )
                                  estateoftheabove-nameddebtorts)hasbeenfully                  j
 9                                adm inistered.lrequestthat1bedischarged from any further     l
                                  dutiesastnlstee.Key inform ation aboutthiscaseasreported l
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 10                               inschedulesfiledbythedebtorts)orothelw isefoundinthe         j
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                                  case record:This case w aspending for7 m onths.A ssets       !
 11                               Abandoned(withoutdeducting anysecuredclaims):Not             )
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 13                               scheduledtobedischargedwithoutpayment(without                1
                                  deducting the value ofcollateralor debts excepted from       l
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 14                               discharge):NotAvailable.FiledbyTnlsteeBradD Krasnoff j
 15                               (TR)(RE:relateddocumenttsllM eetingofCreditorswith           l
                                                                                               (
                                  341(a)meetingtobeheldon11/03/2016at09:00AM atRM l
 16                               2,9l5 W ilshire Blvd.,10th Floor,Los Angeles,CA 90017.       j
                                  ObjectionstoDischargedueby01/03/2017.Cert.of                 î
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 17                               FinancialManagementdueby01/03/2017forDebtorand               l
 18                               JointDebtor(ifjointcase).ProofofClaim dueby                  j
      04/11/2017                  02/01/2017.).(Krasnoff(TR),Brad)(Entered:04/11/2017)         1
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                   è     l13      N otice ofAppealand Statem entofElection to U .S.District    l
20                       (7pgs)   Court(OfficialForm 417A)-FeeAmount:$29800,.filed by !
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21                                relieffrom autom atic stay A CTION IN N ON   -               '


22                                BANKRUPTCY FORUM (BNC-PDFI).Appellant                        r
                                  Designationdueby4/27/2017.(M ilano,Sonny)(Entered:           (
23 04/13/2017                     04/13/2017)
24                       114      A ppellantD esignation ofContents For lnclusion in Record
25                       (6pgs)   OnAppeal;Statementoflssueson Appeal;tiledbylvan
                                  ReneM oore(RE:related documentts)l13NoticeofAppeal
26                                andStatementofElection(OfficialForm 417A)).Appellee
                                  designationdueby4/27/2017.(M ilano,Sonny)(Entered:
27 04/13/2017                     04/13/2017)
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                             l15      i A ppellants'Certificate oflnterested Partieson Appealand
     2                       (5pgs) jNoticeofRelated CasesPursuanttoLocalRules'
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     3                                )Appealand StatementofElection to U S.D istrictCourt
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                    '        116      @NoticeofTranscriptsDesignatedforanAppealforHearing )
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     8              !        (5pgs)       Held03/22/2017at2pm,filedbylvanReneM oore(RE:
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          04/13/2017 )                j04/13/2017)                                                    l
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                    i        117          N oticeofAppealand StatementofElection to U.S.District      i
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    26                       (5pgs)       Heldon03/22/20l7at2pm;tiledby lvanReneMoore(RE:
    27                                    relateddocumenttslll7NoticeofAppealandStatementof
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                         12l      N otice ofReferralofA ppealto the United StatesD istrict
                         (32pgs) Court,CentralDistrictofCalifornia;withNoticeofAppeal
                                 ServiceList.(RE:relateddocumentts)ll3NoticeofAppeal
                                 and StatementofElection (OfficialForm 417A)filedby
                                 CreditorlvanReneM oore)(Milano,Sonny)(Entered:
                                 04/13/2017)
                         l22      N otice ofReferralofA ppealto the United StatesD istrict
                         (32pgs) Court,CentralDistrictofCalifornia;withNoticeofAppeal
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                                 and StatementofElection(OfficialForm 417A)tiledby
                                 CreditorlvanReneM oore)(Milano,Sonny)(Entered:
                                 04/13/2017)
                                  ReceiptofAppealFiling Fee -$586.00by 71.Receipt
                                  Number20217800.(admin)(Entered:04/13/2017)



                                  ReceiptofCertification Fee-$22.00 by 71.ReceiptNumber
                                  20217803.(admin)(Entered:04/13/2017)

                                  ReceiptofPhotocopiesFee -$12.00 by 71.ReceiptNumber
                                  20217803.(admin)(Entered:04/13/2017)
                         l23      NoticeRE:Appealfrom BankruptcyCoul' t(USDC)RE:
                         (2pgs)   2:17-cv-02857CAS (OriginallyliledatDistrictCourt
                                  04/14/2017).(RE:related docum enttsll13NoticeofAppeal
                                  andStatementofElection(OfficialForm 417A)filedby
                                  CreditorlvanReneM oore)(M ilano,Sonny)(Entered:
21
                                  04/17/2017)
                         124      NoticeRE:Appealfrom Bankruptcy Court(USDC)RE:
23                       (2pgs)   2:17-cv-02859CJC (Originally filedatDistrictCourt
                                  04/14/2017).(RE:relateddocumenttslll7NoticeofAppeal
                                  andStatementofElection(OfficialFonn 417A)filedby
                                  Creditorlvan ReneM oore)(M ilano,Sonny)(Entered:
                                  04/17/2017)

                         l25      Noticetocreditors(BNC)remotionto avoid lienrelatesto
27                       (1pg)    231(Fortier,Stacey)(Entered:04/17/20l7)
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Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10            Desc
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  1
                         l26      BNC CertificateofNotice(RE:relateddocumenttsllzs
  2                      (3pgs)   Noticetocreditors(BNC))No.ofNotices:43.NoticeDate
                                  04/19/2017.(Admin.)(Entered:04/19/2017)
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  4                      l27       D eficiency N otice Sentto U SD C RE:2:l7-cv-l05l O DW -
                         (1pg)     Transcripthasnotbeenfiled.(RE:relateddocumenttsl77
  5                                NoticeofAppealandStatementofElection(OfficialForm
                                   4l7A)filedby Creditorlvan ReneM oore)(M ilano,Sonny)
  6                                (Entered:04/20/2017)
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                                  NoticeofAppealandStatementofElection (OfficialForm
                                  417A)filedbyCreditorlvan ReneM oore)(M ilano,Sonny)
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                         l29       TranscriptOrderForm related to an A ppeal,regarding
                         (4pgs)    H earing D ate 3/22/2017 Filed by Creditorlvan Rene M oore
                                   (RE:relateddocumenttsll13NoticeofAppealandStatement
                                   ofElection (OfficialForm 417A),l17NoticeofAppealand
                                   StatementofElection(OfticialForm 4l7A)).(Fortier,
                                   Stacey)(Entered:05/05/2017)
                         130      TranscriptRecordTransmittal(Courttranscriptrecordshave
                                  beenuploadedtoFDS).ForOrderNumber:17-BR-22.RE
                                  HearingDate:3/22/2017,(TRANSCRIPTION SERVICE
                                  PROVIDER:Briggs,Telephonenumber3l04l04151.1(RE:
                                  relateddocumentts)l29TranscriptOrderFonn (Public
                                  Request)filedby CreditorlvanReneM oore)(Fortier,Stacey)
                                  (Entered:05/05/2017)
                         131      Transcriptregarding H earing H eld 03/22/17 RE :H EA RIN G
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21                                Rem ote electronic access to the transcriptis restricted until
                                  08/23/2017.The transcriptm ay be view ed atthe Bankruptcy
22                                CourtClerk's O ffice on a public term inalor purchased
                                  through the Transcription Service Providerbefore the
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                                  transcriptaccessrestriction hasended.(TRANSCRIPTION
24                                SERV IC E PROV ID ER :BR IG G S REPORTIN G
                                  COMPANY,INC.,Telephonenumber310-410-4151.j.
25                                N otice oflntentto RequestRedaction D eadline Due By
                                  6/1/2017.Redaction RequestDue By 06/15/2017.Redacted
26                                TranscriptSubm ission D ue By 06/26/2017.Transcriptaccess
27                                willberestrictedthrough08/23/2017.(M artens,Holly)
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     13                I        135 lNoticeRE:BK RecordComplete,BriefingScheduleRE: 1
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    19            )                     :(OfficialForm 4l7A)filedby CreditorlvanReneM oore) j
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    23            l                                                 '             **                 r
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    24 07/17/2017 )                    W anda)(Entered:07/18/20l7)
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    26                                      beenuploadedtoFDS).ForOrderNumber:l7-BR-34.RE '
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    27                                      PROVIDER:Briggs,Telephonenumber310-410-4151.)
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24               '                CreditorlvanReneM oore)(M ilano,Sonny)(Entered:              !
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26                 t     (1pg)       Appeal2:17-cv-l055BRO (OriginallyfiledatDistrictCourt
27                 )                 08/18/2017).(RE:relateddocumenttsl8oNoticeofAppeal
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                                  CreditorlvanReneM oore)(M ilano,Sonny)(Entered:
                                  08/21/2017)

                         l45     M otionForContemptNoticeofMotionandMotionfor
                         (7lpgs) lssuanceofanOSC Re:ContemptforViolationofthe
                                 Dischargelnjunction;Memorandum ofpointsand
                                 AuthoritiesandDeclarationofstevenA.Schuman inSupport
                                 ThereofFiledbyDebtorKimberlyBarbour(Dicker,Lee)
                                 (Entered:08/29/2017)
                         l46      NoticeoflodgmentoforderinBankruptcy CaseFiledby
                         (5pgs)   DebtorKimberlyBarbour(RE:relateddocumenttsll4s
                                  M otion ForContemptNoticeofMotionandMotionfor
                                  IssuanceqfanOSC Re.ContemptforViolationofthe
                                  Dischargelnjunction;Memorandum ofpointsand
                                  AuthoritiesandDeclarationofstevenA.Schuman inSupport
                                  F/lcrctp/FiledbyDebtorKimberlyBarbour).(Dicker,Lee)
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                                  ContempttiledbyDebtorKimberlyBarbour)(Vandensteen,
                                  Nancy)(Entered:08/30/2017)
                         148      Transcriptregarding H earing Held 06/20/17 RE :M O TION
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                                  IN TERRO GA TO RIES.Rem ote eledronic access to the
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21                                Providerbefore the transcriptaccessrestriction has ended.
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                                  410-4151.).NoticeoflntenttoRequestRedactionDeadline
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26                       l49      NoticeofHearingDateofhfotionforlssuanceofanOSC Re.   '
27                       (3pgs)   C:???/cF??/?/FiledbyDebtorKimberlyBarbour(RE:related
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     9                       (4     /                                                                        l
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    21                 '     (5pgs) 'OrderOn:DebtorsMotiontoAvoidLienunder11 &1ç.c.J              .
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                                          PeterBaer,ProValueProperties,Inc.WithProofofselwice, j
    24                                    43 OrderonM otiontoAvoidLien(BNC-PDFI).(Lively,      )
          09/26/2017 ) .
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    26                 '     155          NoticeoflodgmentWithProofofserviceFiledbyDebtor                    ,
                             (8pgs)       KimberlyBarbour(RE:relateddocumenttslz4M otionto                   )
    27                 .                  A void Lien Property Lien w ith Strategic A cquisitions,lnc.,      '
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                                   Filed by DebtorKimberly Barbour,J.2.OrderGranting
                                   MotionToAvoidLien-):STRATEGIC ACQUISITIONS,
                                   IN C .,PETER BA ER,PRO V ALUE PR O PERTIES,IN C.
                                   (BNC-PDF)(RelatedDoc#14)Signed on 12/22/2016).
                                   (Lively,Peter)(Entered:09/26/2017)
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                         (4pgs)


                         l57      BNC CertificateofNotice-PDFDocument.(RE:related
                         (5pgs)   documenttslls6 OrderonM otiontoAvoidLien(BNC-
                                  PDF))No.ofNotices:l.NoticeDate10/12/2017.(Admin.)
                                  (Entered:10/12/2017)
                         l58      U SDC D ism issalofA ppealRE:A ppealU SD C N um ber:
                         (7pgs)   2:l7-cv-02859CJC (OriginallyfiledatDistrictCourt
                                  09/14/2017).(RE:relateddocumenttsll17NoticeofAppeal
                                  and StatementofElection (OfficialForm 417A)filedby
                                  CreditorIvanReneM oore).(M ilano,Sonny)(Entered:
                                  10/23/20l7)
                         l59      U SD C Judgm entA ppealed to the U nited StatesCourtof
                         (l4pgs) AppealsfortheNinthCircuitRE:USDC Number:2:l7-cv-
                                 02859CJC (OriginallyfiledatDistrictCourt10/13/2017).
                                 (RE:relateddocumenttslls8BAP/USDC dismissalof
                                 appeal)(M ilano,Sonny)(Entered:10/23/2017)
                         l60      Transcriptregarding H earing H eld 08/22/17 RE:HR G TO
                         (36pgs) CONSIDER SETTING A FURTHER DATE FOR THE
                                  D EPO SITION S.Rem ote electronic access to the transcriptis
                                  restricted until01/30/2018.The transcriptm ay be view ed at
21                                the Bankruptcy C ourtClerk'sO ffice on a public tenuinalor
                                  purchased through the Transcription Selwice Provider before
                                  the transcriptaccessrestriction hasended.
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                                  R EPORTING CO M PAN Y ,IN C.,Telephone num ber310-
                                  410-4151.1.NoticeoflntenttoRequestRedaction Deadline
                                  D ue By l1/8/20 l7.Redaction RequestDue By l1/22/2017.
25                                Redacted TranscriptSubm ission Due By 12/4/2017.
                                  Transcriptaccessw illbe restricted through 01/30/2018.
26                                (M artens,Holly)(Entered:l1/01/2017)
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                         l61      Oppositionto(relateddocumentts):l5lOrder(Generic)
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Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10           Desc
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                         (40pgs) (BNC-PDFI)FiledbyCreditorlvanReneM oore(Fortier,
                                 Stacey)(Entered:l1/03/2017)
                         l62       U SD C D ism issalofAppeal-Order Granting Appellee's
                         (6pgs)    RequestforD ism issalofA ppealforM ootnessR E:A ppeal
                                  USDC Number:2:17-cv-02857SJO (Originallyfiledat
                                  DistrictCourtl1/15/2017).(RE:relateddocumenttsll13
                                  NoticeofAppealandStatementofElection(OfficialForm
                                  417A)filedbyCreditorlvanReneM oore).(M ilano,Sonny)
                                  (Entered:11/15/2017)
                         l63      U SD C D ism issalofAppealforLack ofProsecution RE:
                         (1pg)    AppealUSDC Number:2:17-cv-0566SJO (Originally tiled
                                  atDistrictCoul'tl1/30/2017).(RE:relateddocumenttslV
                                  NoticeofAppealandStatementofElection (OfficialFonn
                                  417A)filedbyCreditorIvanReneMoore).(M ilano,Sonny)
                                  (Entered:12/01/2017)

                         l64     M otion toSetAmountofsanctionsforViolationofthe
                         (13pgs) DischargeInjunction;Memorandum ofpointsand
                                 AuthoritiesandDeclarationofstevenA.SchumaninSupport
                                 ThereofFikedbyDebtorKimberlyBarbour(Dicker,Lee)
                                 (Entered:12/13/2017)

                         165      HealingSet(RE:relateddocumenttsll64GenericM otion
                                  filedbyDebtorKimberlyBarbour)TheHearingdateisset
                                  for 1/23/2018 at 10:00 A M atCrtrm 1668,255 E Tem ple St.,
                                  LosAngeles,CA 90012.ThecasejudgeisBany Russell
                                  (Fortier,Stacey)(Entered:12/13/2017)
                         l66      U SD C D ism issalA ppealed to the U nited States Courtof
                         (l4pgs) AppealsfortheNinthCircuitRE:AppealUSDC Number:
                                 2:17-cv-02857-SJO (OriginallyfiledatDistrictCourt
21                               12/14/2017).(RE:relateddocumenttsll6zBAP/USDC
                                 dismissalofappeal)(M ilano,Sonny)(Entered:12/19/2017)
                         l67      N OTIFICA TION from N inth CircuitCoul'  tofA ppeals of
                         (3pgs)   case num berassigned and briefing schedule.A ppealD ocket
                                  N o.17-56914 assigned to N otice ofAppealto 9th Circuit
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                                  (OriginallyfiledatCourtofAppeals12/20/2017).(RE:
                                  relateddocumenttsll66USDC DismissalAppealedtothe
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                                  AppealUSDC Number:2:17-cv-02857-SJO (Originallyfiled
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                                      BAP/USDC dismissalofappeall).(M ilano,Sonny)(Entered:
 2                                    12/21/2017)
 3                       l68
                                 Oppositionto(relateddocumentts):l64MotiontoSet                ,
 4                       (29pgs) Alnount(?fSanctionsfor ViolationoftheDischarge                r
                                 lnjunction;Memorandum ofpointsandAuthoritiesand
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 5                               Declarationofsteven-d.SchumaninSupportFicrctp  /tiled         :
                                 byDebtorKimberlyBarbour)Filedby CreditorIvanRene
 6 01/10/2018                    Moore(Fortier,Staeey)(Entered:0l/10/201S)                     )
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21                       (6pgS)       KimberlyBarbour(RE:relateddocumenttsll64M otion to       ,
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22                                    lnjunction;Memorandttm ofpointsandAuthoritiesand         î
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                                      DeclarationofstevenA.Schuman inSupportTherecfFiled
                                      byDebtorKimberly Barbour).(Lively,Peter)(Entered:
24 01/29/2018                         01/29/2018)
25                       173          O rder finding lvan Rene M oore in contem ptofcourtfor
26                       (3pgs)       willfulviolationofthedischargeinjunction andimposing
                                      sanctionsagainstMr.Moorewithcertiticateofservice(BNC-
27                                    PDF)(RelatedDoc# 164)Signed on 3/2/2018.(Fortier,
      03/02/2018                      Stacey)(Entered:03/02/2018)
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     2            (             (4pgs) :documenttsll-/3OrderonGenericM otion (BNC-PDFI)No. ;
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    26 06/13/2018                            06/13/2018)
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    25 ll/19/20l8                                                                                                                     ofservice).(Lively,Peter)(Entered:ll/l9/2018)
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    27                                                                                           (2pgs)                                    a.m.(BNC-PDF)(Related Doc# 23)Signedon 11/20/20l8
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                         2l6       NoticeofMotionForOrderW ithoutaHearing(LBR 9013-
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                         222       NoticeoflodgmentoforderinBankvuptcy CaseRe.'Order
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                         223       Objectiontothemotiontoreopen(relateddocumentts):2l1
                         (62pgs)   M otion;FiledbyCreditorlvanReneM oore(Fortier,
                                   Stacey)(Entered:02/07/2022)
                         224       Order Granting M otion to Reopen Bankruptcy Case for
                         (1pg)     ViolationofDischargelnjunctionunderllU.S.C.Sec.524
                                   (Ch 7)-NoFee(BNC-PDF)(RelatedDoc#211)Signed on
                                   2/7/2022.(Fortier,Stacey)(Entered:02/07/2022)

27                       225       N otice to creditors regarding orderto reopen relates to 224
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25                      '        233      1                                                               (
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26 02/11/2022                    (113pgs) ?ReneM oore(Fortier,Stacey)(Entered:02/11/2022)                 (

27                               234          HearingSet(RE:relateddocumenttslz33GenericMotion
      02/14/2022                              filedby CreditorlvanReneM oore)TheHearingdateisset
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Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10            Desc
                        Main Document     Page 67 of 93




                                    for3/8/2022 at10:00 A M atCrtrm 1645,255 E Tem ple St.,
                                    LosAngeles,CA 90012.ThecasejudgeisBarryRussell
                                    (Fortier,Stacey)(Entered:02/14/2022)
                         235        N otice to creditorsregarding m otion to disqualify
                         (113pgs) HonorableBan'yRussellrelated todoc233 (BNC-PDF)
                                  (Fortier,Stacey)(Entered:02/14/2022)
                         236       N otice to creditorsregarding m otion to disqualify
                         (1pg)      HonorableBarfy Russellrelatestodoc233(BNC)(Fortier,
                                    Stacey)(Entered:02/14/2022)
                         237       N otice to creditors regarding Orderto Show Cause
                         (1pg)      regardingdoeument226(BNC)(Fortier,Stacey)(Entered:
                                    02/14/2022)
                         238        Oppositionto(relateddocumentts):233M otionfiledby
                         (6pgs)     Creditorlvan ReneM oore)MEMOM ND UM OF POINTS
                                   AND A UTH OR ITIES AND D ECLAM TION OF STE VEN A.
                                   SCH UM AN IN OPPOSITION TO M O TION TO
                                   DISQUALIFYFLLZdbyDebtorKimberlyBarbour(Dicker,
                                   Lee)(Entered:02/16/2022)
                         239       BNC CertificateofNotice(RE:relateddocumenttslz36
                         (4pgs)    Noticetocreditors(BNC))No.ofNotices:36.NoticeDate
                                   02/16/2022.(Admin.)(Entered:02/16/2022)
                         240       BNC CertilicateofNotice(RE:relateddocumenttslz37
                         (4pgs)    Noticetocreditors(BNC))No.ofNotices:36.NoticeDate
                                   02/16/2022.(Admin.)(Entered:02/16/2022)

                         24l      BNC CertificateofNotice-PDFDocument.(RE:related
                         (1l6pgs) documenttslz3sNoticetocreditors(BNC-PDFI)No.of
21
                                  Notices:36.NoticeDate02/16/2022.(Admin.)(Entered:
22                                02/16/2022)
23                       242       M oore's opposition to debtor'sB arbour'sm otion for an order
                         (135pgs; toshow causewhylvanReneeM ooreshouldnotbeheldin
24                       3docs) contemptforwillfulviolation ofdischargeinjunctionunder
25                                lluscsection524(A)(re1ateddocumentts):226Orderon
                                  M otion forContempt(BNC-PDFI)FiledbyCreditorlvan
26                                ReneMoore(Attachments:#lvolumets)Part2#.      ;.
                                  Volumets)Part3)(Lewis,Litaun)(Entered:02/22/2022)
27

28                       243       Replyto(relateddocumentts):212M otionForContempt
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    Case 2:16-bk-22878-BR      Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10              Desc
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     4                     f              )DISCHARGE INJUNCTION UNDER llU.S.C.524(a),'                         y
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                           l              i            FeeAmount$350NamreofSuit:(62
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     9                                    l(Dischargeability-523(a)(2),falsepretenses,false                :
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     13                         245       1N oticeofdisqualification ofJudgeBarfy Russellforfailure I
     14                         (16pgs)   yto timely lilen answerorothelw ise, defend,orrespondto j
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     15                    !              rracism,prejudice,andforlackofimpartialityFiledby                i
                           t              'CreditorlvanReneMoore(RE:relateddocumenttslz33                  $
     16                    1              )MotiontodisqualifyJudgeRussellFiledbyCreditorlvan
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                                          !Replytooppositiontothejudgmentcreditor,lvanRene                     l
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    19                     i
                           l            jinsidiousracism,andforlackofimpartiality(related                      ï
                                        èdocumentts):238 Opposition filed by DebtorKimberly                    l
    20                     1            9Barbour)FiledbyCreditorIvanReneM oore(Fortier,
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                           !    247           RequestforjudicialnoticeinSupportOJ-OSC ReContempt '
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    23 03/01/2022 (                           03/01/2022)
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                           r    248           TranscriptOrder Form ,regarding Hearing D ate 03/08/22
    25                   )      (1pg)         FiledbyDebtorKimberly Barbour.(Dicker,Lee)(Entered:
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    27                          249           TranscriptRecordTransmittal(Coul4transcriptrecordshave
              03/10/2022                      beenuploadedtoFDS).ForOrderNumber:22-BR-l2.RE
Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10               Desc
                        Main Document     Page 69 of 93



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                t                  HearingDate:3/8/22,(TRANSCRIPTION SERVICE                          ?
 2              )                 ) PRO VID ER :Ben H yatt, Telephonenumber888/272/0022.
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 3              '                 t                                                                   J
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 17             )                 @INJUNCTION UNDER 11c1u&.c.524(a),.MEMOM NDUM                       j
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 18                                OF M M BERLYBARBO UR IN SUPPORTFLLedby Debtor                      I
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24                                 TH E FILER IS IN STRU CTED TO RE FILE THE-                         '
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                                      relateddocumenttslzslNoticeofLodgmentfiledbyDebtor (
26 03/23/2022                         KimberlyBarbour)(Fortier,Stacey)(Entered:03/23/2022) i
27                       253          D eclaration re:DECLAR ATION OF STE VEN A .
28 03/28/2022            (6pgs)       SCHUMAN IN CONNECTION WITH REPLY1N SUPPORT i
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                                   Main Document     Page 70 of 93



      1                        (
                               l                 OX OSC RE CONTEM PT Filed by DebtorKimberly      '
      2                        )
                               i             'Barbour(RE:relateddocumenttslz12M otion ForContempt è
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                               1             )IVAN RENE M OORE SH OULD NOT BE HELD IN                      i
      4                        i             !                                                             1
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      5                        !
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     9                         l             1lodgmentofobjectionandoppositiontothedischargeofthe l
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     10                        '
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                                             ' llU.S.C.Section 523(a)(6)(relateddocumentts):251
     11                        '             !
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                                                        aFcey)Additionalattachmentts)addedon               j
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     13 03/29/2022                           )on3/29/2022(Fortier,Stacey).(Entered:03/29/2022)             l
     14   .                                  l
                                    255      jAdversarycase2:22-ap-0l080.ComplaintbylvanRene t
                                             '                                                  1
     ls                        )    (137pgs) lMooreagainstKimberlyBarbour,StevenA.Schuman,Lee )
                               l             lT.Dicker,LeonardLaw OfficeofPeterM .Lively,Dicker l
     16                        i             l                                                             l
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     17                        l             1turnoverofpropertyl),(13(Recoveryofmoney/property-
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                                              548fraudulenttransferl)(Collins,Kim S.)(Entered:             l
                  03/29/2022 j               j03/29/2022)                                                  j
                               1    256      lM emorandum ofdecision denying m otion fororderof            l
    20                         I    (5pgs) l
                                           !recusalwithcertificateofservice;relatesto233(BNC       -       l
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    23            1            f
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    24 03/29/2022 l                         (Fortier,Stacey)(Entered:03/29/2022)                   ,

    25            ù                 258          CertificateofService(RE:relateddocumenttslzs6
                  !                 (5pgs)       M emorandum ofdecision(BNC-PDFI).(Fortier,Stacey)
    26 03/29/2022 '                              (Entered:03/29/2022)
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                  03/29/2022        259          Certit-icateofService(RE:relateddocumenttslzs7Order
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                   l         260      RequestfOrjudicialnoticeIN SUPPORT OF OSC RE                     ,
 3                 l         (l90pgs) CONTEMPT FiledbyDebtorKimberlyBarbour(RE:                        )
 4                 l
                   '                  relateddocumenttslz12,MotionForContemptDEBTOR                    )
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                   é                  ( KIM BERLY BARB O UR S N O TICE OF M O TION AND
  5                l                  JM OTION FOR AN ORDER TO SH OW CA USE WH YIVAN l
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                   l         (6pgs)   1STEVEN A.,VCJ-fLJAf/1N JN CONNECTION WITH REPLY                 (
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 16                l                  rKimberlyBarbour(RE:relateddocumenttslzlzMotionFor
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 18                l                      CA USE WH YIVAN RENE M OORE SHO ULD N OTBE                   t
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19                 j                  'OF THE DISCHARGE INJUNCTION UNDER 11U.S.C.                      )
20                 k                  r524(a), MEM ORANDUM OF P).(Dicker,Lee)(Entered.
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21                                                                                                     )
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              )              264          Objectionpursuantto28U.S.C.(c)(l)Filedby lvanRene            )
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22 04/12/2022 !
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                             (9pgs)       M oore(Fortier,Stacey)(Entered:04/12/2022)
23                 )         265          M
                   )                          em orandum finding lvan Rene M oore in contem ptof       q
24                           (7pgs)       courtforwillfulviolationofthedischargeinjunctionunder
                                          llU.S.C.Section5244a)andimposingsanctionswith
25                                        certiticateofservicerelatesto226(BNC-PDF)Signedon
26 04/26/2022      .
                                          4/26/2022.(Fortier,Stacey)(Entered:04/26/2022)               r

27                           266          Ordertinding lvan Rene M oore in contem ptofcourtfor
      04/26/2022             (3pgs)       willfulviolationofthedischargeinjunctionunderllU.S.C.
28                                                                        .
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                                       Section524(a)andimposingsanctionswithcertiticateof
                                       service;relatedto226and (265)Re:(BNC-PDF)Signedon
                                       4/26/2022.(Fortier,Stacey)(Entered:04/26/2022)


                               BA N K R U PTCY AD V ER SA RY
                    CA SE M O O R E V BR AG G/BA RBO UR 2:16-A P-01543


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       Date             #                                 D ocketText

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                         1         A dversaly case 2:l6-ap-01543.Com plaintby lvan R ene
                         (53pgs)   M oore againstK im berly Barbour,G eorge B arbour,K eith
                                   Rouster ,RobertPitts ,RobertPittsEstates ,PeterM Lively
                                   )The Law O fficesofPeterM .Lively ,D oes l through 10,
                                   lnclusive.FeeAmount$350.00NatureofSuit:(l3
                                   (Recoveryofmoney/property -548fraudulenttransferl),414
                                   (Recovely ofmoney/property -otherl)(M ilano,Sonny)
                                   (Entered:12/09/2016)
                                   ReceiptofAdversaly Filing Fee-$350.00 by 71.Receipt
                                   Number20214092.(admin)(Entered:12/12/2016)

                         2         Orderto Appearand Show Cause asto w hy plaintiffshould
                         (2pgs)    nothavetoamendhisSection 523complaint(BNC-PDF)
                                   Signedon 12/15/2016.(Fortier,Stacey)(Entered:
                                   12/15/2016)
                         3         H earing SetShow Cause hearing to be held on 1/24/2017 at
                                   02:00 PM atCrtnn 1668,255 E Tem ple St.,LosA ngeles,
                                   CA 90012.ThecasejudgeisBarly RussellîtFortier,
21                                 Stacey)(Entered:12/15/2016)
22                                 Proofofservice re orderto show cause as to w hy plaintîff
23                       (3pgs)    shouldothavetoamendhissection523complaint(RE:
                                   relateddocumenttslî Orderto Show Cause(BNC-PDFI).
24                                 (Fortier,Stacey)(Entered:12/15/2016)
25
                         1         BNC CertiticateofNotice-PDFDocument.(RE:related
26                       (3pgs)    documentts); OrdertoShow Cause(BNC-PDFI)No.of
                                   Notices:l.NoticeDate 12/17/2016.(Admin.)(Entered:
27                                 l2/l7/20l6)
28
Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10        Desc
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                                   Noticeofplaintp FailuretoComplywithPre-/ling
                         (20pgs)   Requirementsè/nti/crCalfornia CodeofcivilProcedure)'
                                   39landRequestforStayPending OrderoftheCt?è/r/with
                                   ProofofserviceFiledby DefendantKimberly Barbour(RE:
                                   relateddocumenttsl-tAdversarycase2:16-ap-0l543.
                                   C om plaintby lvan Rene M oore againstKim berly B arbour,
                                   G eorge B arbour,K eith Rouster,R obertPitts,RobertPitts
                                   Estates,Peter M Lively,The Law Offices ofPeterM .
                                   Lively,Doeslthrough l0,lnclusive.FeeAm ount$350.00
                                   NatureofSuit:(13 (Recoveryofmoney/property-548
                                   fraudulenttransferll,tl4(Recoveryofmoney/property-
                                   otherl)filedby PlaintifflvanReneMoore).(Lively,Peter)
                                   (Entered:12/20/2016)
                                   Response to orderto show cause asto w hy plaintiffshould
                         (28pgs;   nothave to am end his Section 523 com plaintFiled by
                         2docs)    PlaintifflvanReneM oore.îtFortier,Stacey)Additional
                                   attachmentts)addedon7/14/2017(DelM undo,W ilfredo).
                                   (Entered:01/03/2017)

                                   Oppositiontostayofproceedings(relateddocumentts):.
                                                                                    i
                         (9pgs)    Noticefiledby DefendantKimberly Barbour)(Perphone
                                   call,Debtorstatedhehadtheincorrectcaption)Filedby
                                   PlaintifflvanReneM oore(Fortier,Stacey)(Entered:
                                   01/04/2017)

                                   HearingSet(RE:relateddocumentts)é.Noticefiledby
                                   KimberlyBarbour)Hearingtobeheldon01/24/2017at
                                   02:00 PM 255 E.Tem ple St.Courtroom 1668 LosA ngeles,
                                   CA 90012.ThehearingjudgeisBarly Russell(Fortier,
                                   Stacey)(Entered:01/04/2017)

                                   NoticeofHearingonPlaintx sFailuretoComply withPre-
21                       (4pgs)    FilingRequirementsWithProofofserviceFiledby
                                   DefendantKimberlyBarbour.(Lively,Peter)(Entered:
22                                 01/04/2017)
23                       l0        Replyto(relateddocumentts):.'
                                                               èStatementfiledbyPlaintiff
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24                       (65pgs)   lvanReneMoore)ToResponsebyIvanReneMooreto
                                   OrdertoShow Causeasto WhyPlaintffshouldNotHave
25                                 toAmendliisj'523 Complaint.DeclarationofpeterM
                                   Lively withProofcfServiceFiledbyDefendantKimberly
26                                 Barbour(Lively,Peter)(Entered:01/17/2017)
27
                         11        Orderdenying requestforstay pending order ofthe court
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     1
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     2                                  (Fortier,Stacey)(Entered:01/25/2017)
     3              '        12         orderon orderto show causeasto why plaintiffshouldnot
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     4              l        (4pgs) )havetoamendhis# 523COMPLAINT (BNC-PDF)                        l
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     5 01/25/2017 !                 l(Entered:01/25/2017)
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     6              '        13        à
                                       'SummonsIssuedonKimberlyBarbourDateIssued                   )
     7              l
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     16            (         16     )Proofofselwiceofsummons(RE:relateddocumenttsll                t
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                                    qComplaint,12Order(Generic)(BNC-PDFI).(Fortier,                j
     17 01/25/2017 j                jStacey)(Entered:01/25/2017)                                   j
    18              l                  r                                                           q
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     19             t        (3pgs) #documenttslllOrderonGenericApplication(BNC-PDFI) )
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    22              ;        (5pgs) .documenttsllzOrder(Generic)(BNC-PDFI)No.of                    ;
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    23 01/27/2017                    01/27/2017)
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    24                       19         A nsw erto com plaintFiled by Kim berly Barbour (Dicker,
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    25 02/23/2017 '          (26pgs)    Lee)(Entered:02/23/20l7)
    26                       20         Statusreport(Unilateral)FiledbyPlaintiffIvanReneM oore è
                             (8pgs)     (RE:relateddocumenttsll Complaint).(Vandensteen,
    27 03/09/2017                       Nancy)(Entered:03/13/2017)
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     2                 '     (6pgs)    Barbour(RE:relateddocumenttsll Complaint).(Dicker,
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     6 03/22/2017 '                   jStacey)(Entered:03/22/2017)                               (
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     11                )              i0                                                         j
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     12                j              'money/property-548fraudulenttransferll,tl4(Recoveryof
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     13 03/27/2017 j                  jMoore).(Dicker,Lee)(Entered:03/27/2017)                   (
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     ls              !       (3pgs) )
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     17            l                  )SchedulingOrder(seeorderfordetai1s)(BNC-PDF)Signed        '
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    20                 p     (3pgs)   (documenttslz4SchedulingOrder(BNC-PDFI)No.of               j
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    21 04/02/20l7 r                   4
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    22                       26           Noticeofcontinuanceofstat' usconferenceto6/20(2)(RE:   :
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    23                       (2pgs)       relateddocumenttslz4tFortier,Stacey)(Entered:
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    25                       (136pgs; Barbour(Attachments:#lExhibitl#; Exhibitz-part1#7.
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    26                       7docs) Exhibitz-part2#4Exhibit3-6#j.Exhibit7-19withProof
                                      ofService # i SupplementStipulation Re:Motion for
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    27 05/11/2017                         ProtectionOrder)(Dicker,Lee)(Entered:05/11/2017)
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    1
                                  28           HearingSet(RE:relateddocumenttslz7M otionfor
    2                                          ProtectiveOrderfiledby DefendantKimberly Barbour)The t
                                               H earing date is setfor6/20/2017 at02:00 PM atCl4nu               è
    3                                          1668, 255 E Tem ple St.,Los Angeles,CA 90012.The case             '
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22                                             st Los Angeles, CA 90012.ThecasejudgeisBarryRussell ,
23 05/24/2017                                  (Fortier,Stacey)(Entered:05/24/2017)                              )
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24                                35           ProofofserviceFiledbyDefendantKimberlyBarbour(RE:                 J
25                                (4pgs)       relateddocumenttsl3zM otiontoCompelFp/r//lt?rResponses            )
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26                                             AuthoritiesandDeclarationofstevenA.us-c/cl/rptzpin                è
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Case 2:16-bk-22878-BR   Doc 271 Filed 05/04/22 Entered 05/04/22 09:46:10         Desc
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                         (109pgs; ofpointsandAuthoritiesandDeclarationt?fStevenz1.
                         2docs) Schumanins'è/  r.
                                                ptpr/ThereofFijedby DefendantKimberly
                                  Barbour(Attachments:#lExhibitExhibits8through l0
                                   and ProofofSelwice to M otion to Com pelProduction of
                                   Documents)(Dicker,Lee)(Entered:05/26/2017)

                         lZ        Stipulation By Kim berly B arbourand Re:M otion to Compel
                         (46pgs)   ProductionofDocumentsFiledbyDefendantKimberly
                                   Barbour(Dicker,Lee)(Entered:05/26/2017)
                         38        HearingSet(RE:relateddocumenttslàiGenericMotion
                                   filedbyDefendantKimberlyBarbour)TheHearingdateis
                                   setfor 6/20/2017 at02:00 PM atCrtnn 1668,255 E Tem ple
                                   St.,LosAngeles,CA 90012.ThecasejudgeisBarryRussell
                                   (Fortier,Stacey)(Entered:05/26/2017)
                         39        Oppositionto(relateddocumentts):2.
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                         (63pgs)   ProtectiveOrderfiledby DefendantKimberly Barbour)
                                   Filedby PlaintifflvanReneM oore(Fortier,Stacey)
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                         (l8pgs)   Moore(Fortier,Stacey)(Entered:06/01/2017)
                         4l        Statusreport(Unilateral)FiledbyPlaintifflvanReneMoore
                         (l0pgs)   (RE:relateddocumenttsll Complaint).(Toliver,W anda)
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                         X         Replyto(relateddocumentts):;...
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                         (l0pgs)   OrdertiledbyDefendantKimberlyBarbour)Reply in
                                   SupportofMotionforaProtectiveOrder;Supplemental
                                   Declarationofsteven-d.Schuman FiledbyDefendant
                                   KimberlyBarbour(Dicker,Lee)(Entered:06/06/2017)
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                         43        Oppositionto(relateddocumentts):.
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 23                                ofpointsandAuthoritiesandDeclarationofsteven,1.
                                   Schuman inSupportF/zcrctp
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24                                 Barbour)FiledbyPlaintifflvanReneMoore(Fortier,
                                   Stacey)(Entered:06/06/2017)
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27                                 AuthoritiesandDeclarationofstevenA.5-c/?l/p?t???in
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     7            l          4docs) KimberlyBarbour.(Attachments:#lExhibitExhibits9-12                 I
                  1                    # 2.ExhibitExhibits 13-15 #3.ExhibitExhibits16-17 and           1
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     8 06/16/2017 )                   lProofofService)(Dicker,Lee)(Entered:06/16/2017)                 t
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     13             l        48           NoticeoflodgmentoforderRe.
                                                                   'StatusConferenceand                j
                    l        (7pgs)    DiscoveryMotionsFiledby DefendantKimberlyBarbour                l
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                                       ResponsestoSpecialInterrogatories;Memorandum of
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    24 07/20/2017 ,                   ,
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    25              .        49           Order D enying M otion to com pelresponse to production of
    26                       (3pgs)    documentssetonewithcertiticateofselwice(BNC-PDF)
                                       (Re1atedDoc#45)Signedon7/26/2017.(Fortier,Stacey)
    27 07/26/2017                      (Entered:07/26/2017)
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    2                                      (3pgs)         certificateofservice(BNC-PDF)(RelatedDoc#47)Signed i
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    4                                          51                 1 Order re plaintiffsrequestto issue third party subpoenasto 1
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    8                     j                               LBR 901l-3fornolationofcourtorders;M emorandum of                               t
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    9                     t                              lSchumaninSupportF:crco/FiledbyDefendantKimberly t
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    11                    j
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                                           53 lStipulationRe:MotionforSanctionsUnderFRBP7037 !j
                                           (5pgs) lFiledbyDefendantKimberlyBarbour(Dicker,Lee)
    12                    J
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 14                       1                                      otionEmergencyMotion toStayDepositionsSetfor
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                                                                                               Order(Generic)(BNC-PDFI).AppellantDesignation dueby
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     2                 #                  (BNC-PDFI)No.ofNotices:l.NoticeDate 11/19/2017.
                       !                  (Admin.)(Entered:ll/l9/2017)
     4                 i     102          CivilM inutesRE:Appeal(USDC)-lnChambersOrder
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     11                1              tDismissingAdversaryProceeding(BNC-PDFI).Appellant 1
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    25                               andStatementofElection(OfficialForm 4l7A)tiledby
                       '             PlaintifflvanReneM oore)(Attachments:#lDesignationof
    26                 '             Record'Statem entoflssues# ; Certificate oflnterested
    27                               Parties;NoticeofRelatedCases)(M ilano,Sonny)(Entered:
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     6            i                     )12/04/2017)                                                                l
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     11                    i                1
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    21                                  and2:17-cv-08741-SVW (Closed).AppellantsOpeningBrief )
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     2                  ,                    lAppealand StatementofElection (OfficialForm 417A)filed
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     s                  )            (lpg) (twocaseslistedabove,consolidated.Civilcase2:l7-cv-               l
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